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             EXHIBIT 3
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                             UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA




 IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
 LIABILITY LITIGATION                              Case No. 16-md-02741-VC


 This document relates to:
 ALL ACTIONS



                  EXPERT REPORT OF DR. BEATE RITZ, M.D., Ph.D.

                        IN SUPPORT OF GENERAL CAUSATION

                               ON BEHALF OF PLAINTIFFS

1.     Beate Ritz, MD, PhD, Background and Qualifications


       I, Beate Ritz, MD, Ph.D., am Professor of Epidemiology at the UCLA Fielding School
of Public Health, former Chair of the Epidemiology Department, and I hold co-appointments in
Environmental Health Sciences and Neurology at the UCLA, School of Medicine. I was trained
in Medicine at the University of Hamburg/Germany and received a doctoral degree from the
University of Hamburg in Medical Sociology in 1986. I furthermore received another doctoral
degree in Epidemiology from UCLA in 1995, and subsequently was hired as a faculty at UCLA.
My faculty appointment at UCLA is one of several positions specifically assigned to the Center
of Occupational and Environmental Health (COEH) mandated by the State of California to
conduct research, teaching, and service to communities in California on occupational and
environmental health issues. Hence, my primary research interests are health effects from
occupational and environmental exposures with a focus on pesticides and air pollution and
chronic diseases including cancers, reproductive outcomes, neurodevelopmental disorders and
neurodegenerative diseases. I served for more than a decade as the co-director of the NIEHS-
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funded UCLA Center for Gene-Environment Studies in Parkinson’s disease (PD) and am
currently the Director of the American Parkinson’s Disease Association Center for Excellence in
PD Research. In the past two decades, I was the principal investigator of numerous Parkinson’s
disease, pesticides and gene-environment epidemiology studies in California and also conducted
research based on large databases (such as cancer registries) assembled in California and
Denmark. As part of my research, I developed geographic information system (GIS) based
exposure assessment tools to assess chronic health effects of long-term pesticide exposures and
of air pollution in California. In the early 2000s, I served as a member of the external advisory
committee for the NCI/NIEHS Agricultural Health Cohort Study and for one year chaired this
committee. I also was a visiting scientist at IARC/Lyon in 2006-07. In 2007, I received the
Robert M. Zweig M.D. Memorial Award (Clean Air Award) from the California South Coast Air
Quality Management District and in 2008 I was awarded the “Excellence in Research” award
from the American Parkinson’s Disease Association. I served on multiple National Academy of
Sciences/Institute of Medicine (NAS/IOM) committees evaluating Gulf War Illness – including
IOM reviews of cancer and of amyotrophic lateral sclerosis (ALS). Recently, I served on the
NAS/IOM committee on “Incorporating 21st Century Science into Risk-Based Evaluations” and
I just newly began serving on the committee to assess “Health Effects in Vietnam Veterans from
Agent Orange (herbicides)”. I am a CA Governor appointed member of the scientific review
board for the California Air Resources Board (CARB) panel on Air Toxics. I served on the
editorial Board of the Journal Epidemiology as well as other journals (currently I am editing a
section of the journal Current Environmental Health Reports) and I am the newly elected
President Elect of the International Society for Environmental Epidemiology (ISEE). My
Curriculum Vitae is attached as Exhibit A. A list of the materials I have reviewed, in addition to
those set forth in my CV, are attached as Exhibit B. Exhibit C contains my billing rate and prior
testimony.



2.     Methodology


2.0 Definitions of statistical and methodological terms.
(Population-based) Case-control study. A case-control study is a study where the subjects are
selected for inclusion based on their disease status. In other words, study subjects referred to as

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cases are enrolled because they have the disease (in this case, NHL) and controls are subjects
who at the time the cases are diagnosed are not afflicted by the disease of interest; additionally, a
study is considered population-based if the controls are selected without bias from the same
population from which all cases arose. After study enrollment, everyone is either asked to report
their past exposures (in this case, glyphosate or Roundup) or – if possible – exposures are
reconstructed from a record system (e.g. sales records or application records) or by experts who
evaluate job tasks and titles among all study participants (generally referred to as a job exposure
matrix).


Cohort study. In a cohort study, subjects are enrolled in the study based on their exposures (in
this case, to glyphosate or Roundup), and followed over time to determine who develops the
disease(s) of interest. At enrollment, all participants are asked to report their past exposures or
exposure is reconstructed from records, basically similar as in the case-control study, except that
at enrollment no study participant is allowed to suffer from the disease of interest yet i.e. at the
time of exposure assessment. In some cohorts, exposure is only assessed at enrollment (baseline)
while in others exposures continue to be assessed throughout follow-up until disease occurs.


Odds Ratio (OR). An odds ratio, or OR, is a measure of association between an exposure and a
disease. It represents the odds that the disease will occur in a group of people given a particular
exposure, in comparison to the odds of the disease in a group of people without the exposure. An
OR of 1.00 is the null, meaning no effect. Thus, an OR of 1.40 as reported in one of the studies
below, for example, represents a 40% increase in NHL from exposure to glyphosate. An OR of
3.10 in one of the studies below represents a 210% increase in the odds of NHL from exposure to
glyphosate. An odds ratio is a “point estimate” or the ‘central’ estimate of the relationship
between exposure and disease, in a given study (note: the OR is in the center of the upper and
lower confidence limit boundaries, see below). Odds Ratios are the statistics that are used most
often to analyze case-control studies, and they are often calculated using a statistical technique
called logistic regression but can also be derived by simple calculations based on a 2x2 table of
data.




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Rate Ratio (RR). A rate ratio is the measure of association between exposure and disease that can
be calculated from cohort study data. It compares the incidence rates of disease given an
exposure, to the incidence rate of disease among people without the exposure. The incidence rate
allows us to take time into account and may depend on how much time has passed from the start
of the study until the point in time when disease is diagnosed (or until the end of the study), thus
it not only uses information based on persons but based on person times time under observation
(also known as ‘persontime’). Therefore, a RR different from an OR inherently relies on
measures that included time under observation (i.e. rates). However, the results are interpreted in
the same way: a RR of 1.00 is the null (no effect); a RR of 1.40 is a 40% increase in the rate of
disease, etc.


Risk Ratio (or Relative Risk) is a ratio of the risk in the exposed divided by the risk in the
unexposed in a cohort - where risks are defined as the number of (un)exposed cases divided by
the total number of (un)exposed. Thus, different from rate ratios, this measure uses the number
of subjects rather than the number of person-years a subject contributes during follow-up as the
denominator. This method is used for well-defined (similar length) follow-up periods in the
exposed and the unexposed such that the time under observation will not contribute additional
information and we can substitute persons for person-time.
NOTE: under certain circumstances often met especially for rare diseases, the odds ratio (OR),
risk ratio (RR) and rate ratio (RR) are the same (albeit calculated as the ratio of odds, risks, or
rates) and the interpretation of the estimates is also the same.


P-value. The p-value is the probability of obtaining an estimate at least as far from a pre-
specified value (in case of the null hypothesis the ‘null’ value) as the estimate we have obtained,
if the specified value were the true value (note: no p-value, for the null hypothesis or any other
hypothesis, is the probability that the specified hypothesis is true). For example, a p-value of
0.04 means that, given the null hypothesis is true, if you repeatedly conducted 100 tests of
samples drawn from the same population (people), then in 4% of your tests, you would obtain
the results you got solely due to random error (chance). It is a metric intended to show the
likelihood of random error. It should not be interpreted as the probability that an agent causes an
outcome.


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Confidence interval (CI). A confidence interval, or CI, is given around an OR or a RR to give
the likely interval which potentially includes the unobservable true measure of effect. In other
words, it is an interval estimate (as compared to a point estimate) of the true underlying
relationship between exposure and disease, in a given study. In practice, most published
estimates are 95% confidence intervals, which means that in 95 out of 100 times when sampling
your study subjects, you will find the true result (effect estimate) within the given confidence
interval.


Hierarchical regression is a type of statistical analysis that was used in the 2003 De Roos study.1
It is used when there are many correlated exposures and as a means to adjust for multiple
comparisons. In De Roos, there were many different pesticides used by farmers and pesticide
applicators, and therefore use of one pesticide can be strongly correlated with the use of another
pesticide. For example, imagine glyphosate is often used together with another pesticide,
dicamba. If the Odds Ratio that is reported between glyphosate and cancer is 2.0, then dicamba
–assuming it is mostly used together with glyphosate – would be a proxy for glyphosate
exposure and its OR would also be close to 2.0, just because these pesticides tend to be used
together even if dicamba is not a carcinogen. However, if both pesticides truly increase risk
(both are carcinogens) and we put them into the same (regression) model, we would not be able
to estimate their effects properly, since they would now both have an attenuated effect estimate
(this is also referred to as correlated variables ‘stealing variance from each other’). De Roos used
hierarchical regression to tease apart such correlations in order to determine which pesticides are
the ones that are driving increases in NHL and narrow down the long list of pesticides to find the
“bad actors” which were increasing risk of NHL. But, this approach makes a number of
assumptions, for example that either all pesticides considered or pesticides within certain groups
have similar effects on the outcome which might be incorrect.


N (number). The number of people in a study.


Statistical power is the ability of a study to estimate an effect. In essence, it is a reflection of the
sample size (number of subjects in a study – in cohorts also the number of cases), the prevalence


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of exposure, and the expected effect size. Large sample sizes give us generally higher statistical
power, which means they have narrower and more stable confidence intervals around point
estimates. Smaller sample sizes have wider confidence intervals. Thus, larger studies are much
more able to find statistically significant results especially when exposures or outcomes are rare
and the expected size of the effect moderate or small in size.


Data pooling or pooled analysis. To pool data is to use the raw (un-analyzed or non-
summarized) data from several studies and merge them together to conduct analyses. Data
pooling is often done when there have been multiple small studies on a topic, because the
pooling allows for larger sample sizes and a uniform approach to the analysis of the pooled data.
In order to conduct data pooling, scientists need to have permission to access the data from the
investigators of multiple studies. Pooled studies have greater statistical power than the original
studies from which they draw.


Meta-analysis. In some instances, scientists are interested in pooling data but do not easily have
access to the raw data from each study. This is, typically, because the studies were conducted
many years earlier, or perhaps because the investigators do not know/trust each other or human
subject restrictions do not allow for the sharing of raw data; it is quicker and more efficient to
conduct a meta-analysis based on summary estimates from published reports. A meta-analysis
uses the Odds Ratios or Rate Ratios and confidence intervals which were published in the
original studies, and comes up with a summary estimate of the relationship between exposure
and disease. Similar to pooled analyses, meta-analyses also have much greater statistical power
than each study does on its own, but the authors do not have the option of re-analyzing the
original data as could be done if raw data were available (such as lagging exposures or
generating different exposure categories etc.).


Null hypothesis means no effect. In the studies described below, their null hypothesis was that
NHL is not related to glyphosate/Roundup exposure. The statistical tests done in the studies
described below aim to test the null hypothesis: they want to determine if there the null
hypothesis can be rejected with adequate statistical certainty and whether they can determine



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whether there any relationship between exposure to glyphosate/Roundup and the development of
NHL is suggested by a study.


A Forest Plot is a visual representation of the main results of all studies on a topic. The purpose
of grouping them all together visually is that it can give the reader a sense of overall size of the
effect estimates and the direction of the associations in the existing literature. See pg. 14.


Dose-response. A dose-response association represents an increasing risk with an increasing
dose, such as a larger number of days per year, or a longer number of years, being related to
higher Odds Ratios. For example, the overall study Odds Ratio might be 1.40, but for people
who used glyphosate more often, the Odds Ratio was 2.5 while for those using it less often it
might have been 1.5. This is a sign of a dose-response effect.


Incident/incidence refers to newly diagnosed cases; while prevalent cases are any existing cases
at any point in time or over a certain period in time.


Confounding is a bias that occurs because a risk factor for the outcome is also a cause or
precursor of the exposure of interest such that the outcome is caused by this confounder and not
by the exposure one is trying to assess. For example, if sex is a risk factor for NHL and sex is
also associated with occupational exposure to pesticides, we would want to adjust all effect
estimates for pesticides by sex to remove potential confounding bias.


Recall bias is one type of exposure misclassification that is considered ‘differential’ by
epidemiologists. This means that cases and controls remember or report past exposures
differently because they have or do not have the disease. Generally, it has been suggested that
cases may put more effort into recalling exposures since they have a need to explain their disease
or are more motivated to do so to help researchers while controls are less motivated to recall past
exposures. However, this is most likely a problem if the diseased subject knows or suspects an
agent to cause their disease. If the subject has no way to know which pesticide might have
caused a cancer for example and is asked to report all chemicals they have ever used
occupationally, it is unlikely that they would only recall one and not another chemical


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differentially. Thus, if recall bias existed, we would expect all pesticides they reported to the
researchers to show an association with the outcome and not just one amongst many, since the
tendency to recall better or more exposures than controls would not be expected to be specific to
one chemical. In fact, when recall has been compared with record based evaluations, differential
recall that causes recall bias has generally not been shown to be a problem. Note: non-differential
recall error such that both cases and controls misreport their exposures is known to cause mainly
bias towards the null i.e. masking any true effect rather that enhancing them. These recall biases
are one type of information bias (see below).


Other biases include information bias which is characterized as mismeasurement of exposures or
outcomes which can severely distort results in both case-control and cohort studies. As long as
mismeasurement is non-differential (see above) i.e. the same for cases and controls or for
exposed and unexposed, such biases most often cause underestimation of true effect sizes i.e.
bias results towards the null that can be severe. Finally, there is selection-bias if controls are not
representative of the exposures in the population that gave rise to the cases in case-control
studies, or when there is a large and differential (with regard to case status) loss to follow-up in
cohort studies.


2.1 Literature search
       To obtain all published studies on the relationship between non-Hodgkin’s Lymphoma
(NHL) and glyphosate (the active ingredient in Roundup), I undertook a literature search using
the same method to search for articles that I normally use in my research. This is the same
method that I teach my UCLA students to use. As such, I relied upon two search engines,
PubMed (https://www.ncbi.nlm.nih.gov/pubmed ) and Google Scholar
(https://scholar.google.com/ ). PubMed is an excellent resource for finding papers on the exact
topic one is interested in, but it does not do as well in finding papers which were largely about a
different topic but may have also briefly reported on the topic of interest. Google Scholar does
well in capturing every possible paper of interest, but will often provide many articles not
relevant to the subject matter at hand. I use both search engines to be as thorough as possible, but
also to identify the most relevant articles. These searches initially yielded 290 articles in PubMed
and 9000+ articles in Google Scholar for epidemiological studies; and over 550 articles for


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animal and mechanistic literature; and over 600 citations for cancer. [Most citations were not
immediately relevant to the present question, due to their focus on topics such as effects in fish
resulting from runoff; effects on pregnancy and child development; or effects on other cancer
types.]
          As is typical in most published meta-analyses and reviews, I took additional steps to
ensure I did not miss any relevant articles by also reviewing other published papers to check their
citations. For these, I relied on the IARC Glyphosate Monograph as well as the two meta-
analyses on glyphosate and NHL, as well as other articles on the topic that were published more
recently.2-4
          Furthermore, I read the US EPA’s Cancer Assessment Review Committee (CARC)
report, however I disagreed with their results because they relied heavily on statistical
significance in studies that were not sufficiently statistically powered to answer the question
(more on this below).


2.2 Reliance on peer-reviewed literature
          As I teach my students, the most relevant articles, and indeed the only articles I nearly
ever review and cite in my own research, are those that have gone through peer review at a
reputable journal. Each field has its own journals considered reputable; but in general, a
reputable journal is a journal that is listed in the most well-known and respected indexing
sources such as PubMed.i Typically, these journals have been published for many years and
many are backed by well-recognized and respected medical or research non-profit organizations,
such as the American Medical Association, the British Medical Association, the American
Association for Cancer Research (AACR), the Union for International Cancer Control (UICC),
or the American Cancer Society.
          Peer review, as defined by Danzik, is “a system by which manuscripts submitted for
publication are evaluated, using outside referees (peers), who comment on the manuscripts’
merit, originality, significance, and appropriateness to the journal. The intent is to identify flaws


i PubMed is a service of the US National Institutes of Health (NIH). On their website

(https://www.nlm.nih.gov/pubs/factsheets/j sel faq.html) they explain that NIH uses a committee, the
Literature Selection Technical Review Committee, to review and recommend which biomedical and
health- related life science journals are included. Criteria include relevant subject matter as well as
journals that meet PubMed Central’s scientific quality standard, described as “scientific and editorial
character and quality of a journal.”

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in design and analysis or interpretation, to suggest improvements, to direct manuscripts to the
most appropriate outlets, to discourage repetition in publishing, and to weed out poor science or
scholarship.”5
        Independent peer review is the cornerstone of science in the United States and
internationally, and has formed the basis for what is considered acceptable and reliable medical
and scientific research. The peer review process, which is almost always done anonymously (the
reviewer is nearly always anonymous, although the authors are usually not) provides the
intellectual rigor required to ensure that manuscripts adhere to what is acceptable in the field
with regards to reviewing the relevant literature, and examining the statistics, and determining
whether research protocols apply widely accepted methods, report valid results and avoid or
account for biases, and draw conclusions appropriate to the study’s findings. Peer reviewers are
responsible for deciding whether an article is acceptable for publication. Because of this, authors
typically will first, only submit their best work; and secondly, authors have to respond to
reviewer critiques and be willing to make changes as requested or argue against suggested
changes if there is a compelling reason to not do so which must be explained and justified to and
accepted by the journal editors. I have personally peer reviewed on hundreds of occasions and
for more than 20 different journals. I have also served on the editorial boards of three journals:
Epidemiology, Epidemiologic Perspectives and Innovations, and Environmental Health.
        The system of peer review has been in practice for decades. Although it is not without
imperfections, the revisions that are suggested improve the quality of published manuscripts, it
heads off potential fraud, and its existence encourages honest and state-of-the-sciences work.5
        It is usual that peer reviewers will assemble comments for the editors who will
communicate these and the editor’s own comments to the authors as requests for clarification and
additional information with the intention to not only improve the manuscript but most
importantly to allow them to assess research validity. When any validity issues spotted during
the review process cannot be addressed sufficiently by the authors in their responses and/or a
revised manuscript, the editor may decide that the manuscript is not ready for publication.


2.3 Conflicts of interest.
        There have been several systematic reviews published on the role of conflicts of interest
in medical research. In 2003, a review of 1140 original studies reported a strong relationship


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between industry sponsorship and pro-industry conclusions, with industry-sponsored studies
more than 3 times as likely to find conclusions sympathetic to industry [pooled Odds Ratio (OR):
3.60, 95% Confidence Interval (CI), 2.63-4.91].6
        Similarly, a 2016 article in the British Medical Journal (BMJ), which analyzed the results
of 190 clinical trials published in 2013, reported that the presence of a financial tie between
study investigators and industry resulted in a threefold increase in a positive study result
(OR=3.23, 95% CI 1.7-6.1).7
        As these reviews show, and as is widely recognized across the medical and research
communities, industry sponsorship and financial incentives are unequivocally related to study
findings. For this reason, journals have increasingly required that investigators report conflicts of
interest when they submit articles, and these conflicts are published for the reader to see and to
take into account when drawing conclusions as to the verity of the findings or the interpretation
of the presented data. This information is also made available to journal reviewers, because it
may influence the choice to recommend a manuscript for publication i.e. it may contribute to
assessing scientific validity of the reported research. Furthermore, this is what I as a professor
teach my students, and UCLA teaches to students in bioethics courses and lectures.
        I performed an analysis of the data contained in the literature review of Williams, et al.
(2016) and provide my opinions on that and other data throughout this report. There is a clear
conflict of interest with several of the authors, and my review of the Dr. William Heydens and
Dr. John Acquavella transcripts shows that some of the authors failed to properly disclose these
conflicts. Therefore, I put less weight on this group’s conclusions since it suggests they lack an
ability to be impartial.


2.4 Statistical significance.
        If we start off a study assuming that there is no association between glyphosate/Roundup
and NHL (the “null hypothesis”), then, after we do our statistical analysis, we can determine the
p-value for the null hypothesis of our findings, which is the probability of obtaining an estimate
at least as far from a pre-specified value (the null value in case of the null hypothesis) as the
estimate we have obtained, if that specified value were the true value (note: no p-value, for the
null hypothesis or any other, is the probability that the specified hypothesis is true). There is a
convention to consider a p<0.05 as “statistically significant” however, this is simply a


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convention which is sometimes replaced by other p-values such as p<0.01 or p<10 -7 (in genomic
studies). What a p-value of 0.04 actually means is that, given the null hypothesis is true, if you
repeatedly conducted 100 tests of samples drawn from the same population (people), then in 4%
of your tests, you would obtain the results solely due to random error (chance). It is a metric
intended to show the likelihood of random error. It should not be interpreted as the probability
that glyphosate/Roundup causes NHL. Moreover, if p>0.05, this doesn’t “prove” the null
hypothesis; absence of proof is not proof of absence.
        Similarly, when a (95%) confidence interval excludes 1.0 (such as OR=2.0, 95% CI=1.2-
2.8) – because 1.0 (the null value) is outside of the confidence interval-- it would be considered
“statistically significant”. As with p-values, confidence intervals can be defined as 95% intervals
or 90% or 80% etc. intervals. However, confidence intervals provide additional information that
p-values do not provide, and this information is related to the precision of the estimates or what
is also called the informativeness of the data. In practice, p-values and confidence intervals close
to the null (for example, if one side of the confidence interval is between 0.9 to 1.1) are
considered marginal in terms of significance. Importantly, however, the estimates least
influenced by chance are not those with low p-values, but those with narrow confidence
intervals.
        Statistical significance testing has been widely used and often misused in the medical
literature, and is use has thus been widely criticized. One journal now bans the use of all
statistical tests and even confidence intervals.8 In the last decade, there has been considerable
debate on the merits and problems of significance testing,9-29 and in many Schools of Medicine
and Public Health such as UCLA, students have been taught for decades to not rely upon
statistical significance to draw their conclusions in accordance with the writings of the faculty
member Dr. Sander Greenland, an author of the most widely used textbook in Epidemiology
Methods entitled “Modern Epidemiology.”30 At UCLA, we teach students to focus on the point
estimate (e.g. the Odds Ratio or Rate Ratio) as a measure of the size of the association between
exposure and disease and the confidence interval to gage the precision of this estimate and the
informativeness of the data/study.
        Also important to consider is the rarity of the disease, because the rarer a disease, the
harder it is for a scientist to create a large enough study with enough cancer cases enrolled to
have adequate statistical power. Cancer is by its nature a rare disease. The annual incidence rate


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(number of new cases) of NHL is 19.7 cases per 100,000 people. This is why it is so hard to
study NHL with a cohort study design, because you would have to follow hundreds of thousands
of people for many years in order to find any result that would give us a p<0.05 if we assume
that the effect estimate size is moderate (less 2). This is the main reason why most cancer studies
are employing a case-control design which is much more efficient in terms of the necessary
sample size for sufficient statistical power and in terms of costs in general.
        Many of the case-control studies cited below in this review, particularly those that tried to
recruit cases in rural areas, had a limited sample size simply because there are a finite number of
cases of NHL in rural areas (with low population density). For example, the Nebraska study
(which contributed to De Roos’ pooled analysis) included 220 cases;31 the Kansas study32
included 200 cases. These are not large numbers, and the result is that we get wide confidence
intervals, particularly when exposures are also rare (as they were in these two studies, with 6% of
cases and 3% of controls reporting ever use of glyphosate).
        As recognized by the US National Cancer Institute, wide confidence intervals are often
seen in epidemiologic studies of rare diseases like NHL, but scientists are nonetheless
encouraged to move forward and publish their results anyway. This is because smaller studies
can later be used in pooled or meta-analyses, and those will have much improved statistical
power to estimate precise effect estimates.
        In addition, as we teach at UCLA, one study alone is never definitive. It is important for a
reviewer to look at the information in the literature as a whole to understand relationships
between exposure and disease. We teach students to consider point estimates (Odds Ratios) as
indicators of associations and effect sizes, and to not dismiss or mis-interpret studies that have
wide confidence intervals that may or may not include the null.


2.5 Abstracts vs. full articles.
        Whenever possible it is preferable to examine and cite a full article over an abstract of the
same study, because full articles have the space to provide a detailed overview of study methods
and findings. If the full article is not yet published, however, it is common practice to cite
abstracts.




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3.      Literature Review.
        Here I summarize the findings of the epidemiologic studies on glyphosate and NHL in a
forest plot, a graphical representation of all study results.




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       In reviewing the literature, the sample sizes and especially the number of cases should be
noted, because of their bearing on ‘statistical significance’ and the width of confidence intervals.
Because many of the smaller studies had suggestive findings but wide confidence intervals, it is
particularly important to instead consider pooled and meta-analyses that summarize across these
smaller studies and not only provide a much larger sample size but may allow us to assess NHL
subtypes with sufficient precision. Here I show the sample sizes of each human study of
glyphosate and NHL.


First author, date                                            Number of          Number of
                                                              cases in the      controls in the
                                                            study (all NHL          study
                                                                 cases
                                                              combined)
Cocco, 2013                                                      1869                2462
Pahwa, 2015 (commonly known as the NAPP study)                    1690               5131
Eriksson, 2008                                                    910                1016
Lee, 2004                                                         872                2336
De Roos 2003                                                      650                1933
Cantor, 1992                                                      622                1245
McDuffie, 2001                                                    517                1506
Hardell, 2002                                                     515                1141
Hohenadel, 2011                                                   513                1506
Hardell, 1999                                                     404                 781
Orsi, 2009                                                        244                 426
Nordstrom, 1996                                                   111                 400
De Roos, 2005 (commonly known as the AHS study)                    92              (54223)*
       * these are the N of unaffected cohort members, however we calculate person time and
generally do not use person N in analyses.

       Because sample size is so relevant in considering exposure-disease associations, an
informative study to consider is Pahwa’s pooled analysis of the North American and Canadian
studies, the North American Pooled Project (NAPP).33 This abstract was presented at the
International Society for Environmental Epidemiology’s annual conference, and hence was peer-


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reviewed, as are all abstracts presented at this meeting. In this analysis of 1690 cases and 5131
controls, NAPP reported an elevated risk of all NHL with any glyphosate use (OR=1.51, 95% CI
1.18-1.95) and a dose-response effect was seen with greater use (>2 days/year, OR=2.66, 1.61-
4.40). An OR of 2.66 means that glyphosate exposure increases the risk of developing NHL by
more than 160%. With regards to NHL subtypes, increases were observed for small lymphocytic
lymphoma (SLL; 2.58, 95% CI 1.03-6.48, among those using for more than 5 years), and for
follicular lymphoma (OR=2.36, 95% CI 1.06-5.29), diffuse large B-cell lymphoma (DLBCL;
OR=3.11, 95% CI 1.61-6.00), and other subtypes (OR=2.99, 95% CI 1.10-8.09) for use more
than 2 days per year. These study results were published in 2014, and as such were not included
in any of the meta-analyses.
       There were three meta-analyses conducted on glyphosate and NHL. The first, by
Schinasi and colleagues,34 included 2928 cases from 6 studies1,2,35-38 and reported increases in
NHL risk with any glyphosate exposure (meta-RR: 1.5, 95% CI 1.1–2.0), similar to the results of
the NAPP study. Particularly stronger increases were reported for B-cell lymphoma (meta-RR =
2.0, 95% CI 1.1-3.6). Notably, heterogeneity of study results was low, which means that the
results across studies were highly consistent. This is important because it suggests that the
increases in NHL risk were unlikely to be the result of random fluctuations of estimates across
populations: when you see the same results in multiple studies across different settings, it
improves confidence in the findings.
       The IARC Working Group’s Monograph on glyphosate4 noted that the above meta-
analysis did not always use the most “highly adjusted estimates” from each study. The most
highly adjusted estimates (also known as “fully adjusted” models) are the estimates that adjust
for as many confounding variables as possible, such as adjusting for age, sex, race, and also
sometimes other pesticide exposures. This is relevant because it gives the reader confidence that
the findings are most likely due to glyphosate/Roundup exposure, instead of another potential
cause that acts as a confounder. As such IARC’s Working Group conducted their own meta-
analysis using solely the most highly adjusted estimates from the same studies,1,2,35-38 and
reported a meta risk-ratio of 1.3 (95% CI, 1.03–1.65), with consistent findings across studies
(low heterogeneity). I concur with the IARC conclusions after conducting my own independent
analysis of the studies included in the IARC review.



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        Also helpful to consider is the Swedish study by Eriksson,2 which was large (N=910
cases) and in addition, this study examined cases diagnosed 1999-2002 and thus allowed for a
longer time period to have elapsed between exposure and disease development (glyphosate first
came on the market in 1974); this is known as the latency period between exposure and disease
occurrence. Although a short latency period does not completely exclude the possibility of
exposure-disease relationships in cancer, a longer latency period increases confidence in results
due to increased biological plausibility i.e. typically we would generally expect a 5-10 year
minimum latency between exposure and disease onset for blood system related cancers.
(However, in an individual case the latency period could be as short as 1 year, and as long as 50+
years.) Eriksson reported a twofold increase in NHL risk with glyphosate exposure (OR=2.02,
95% CI 1.10-3.71). Notably, there was also evidence of a dose-response effect: with >10 days
use, the risk was higher (OR=2.36, 95% CI 1.04-5.37) compared to less than 10 days of use
(OR=1.69, 95% CI 0.70-4.07). This was the only study reviewed which conducted analyses and
also accounted for latency (>10 years after use, OR=2.26, 95% CI 1.16-4.40) and these results
are more convincing due to biologic plausibility; in the group in which less than 10 years had
elapsed since exposure, the effect estimate was much lower, as would be expected since these
exposures are less likely to contribute to disease onset (OR=1.10, 0.24-5.08).
        Eriksson also stratified by NHL subtype; effect estimates were increased for every NHL
subtype and confidence intervals overlapped, meaning that there was evidence for increased risk
for all NHL types: B-cell lymphomas (OR=1.87, 95% CI 0.998-3.51); SLL/CLL (OR=3.35, 95%
CI 1.42-7.89); follicular (OR=1.89, 95% CI 0.62-5.79); Diffuse large B-cell (OR=1.22, 95% CI
0.44-3.35); other specified B-cell lymphomas (OR=1.63, 95% CI 0.53-4.96); unspecified B-cell
(OR=1.47, 95% CI 0.33-6.61); T-cell lymphomas (OR=2.29, 95% CI 0.51-10.4); unspecified
NHL (OR=5.63, 95% CI 1.44-22.0).
        An earlier Swedish study by the same research group39 ascertained cases diagnosed 1987-
1990; thus this population was distinct from those in Eriksson’s analysis. This study was smaller
(N=404 cases) and had few participants ever exposed to glyphosate, leading to wide confidence
intervals (4 cases and 3 controls ever exposed; OR=2.3, 95% CI 0.4–13). The small sample size
limits our ability to draw definitive conclusions, but it is interesting that the estimate effect size
is quite similar to the one reported by the larger later study. Likely because of this limitation,
authors later conducted a pooled analysis which grouped these cases with cases of hairy-cell


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leukemia (a subtype of NHL), reporting a threefold increased risk of any NHL (OR=3.04, 95%
CI 1.08-8.52).36 An earlier report of only the hairy-cell leukemia cases also reported increases in
risk with glyphosate exposure (OR=3.1, 95% CI 0.8-1.2), but relied on a quite small sample size
(N=121 cases).40
       The Canadian studies (McDuffie35 and Hohenadel41) ascertained cases diagnosed 1991-
1994 hence allowing for a latency period between first possible use of glyphosate and disease
occurrence, however the sample size (N=517 cases) was smaller than that of the pooled US
studies. McDuffie reported a weak increased risk of NHL with glyphosate exposure which was
similar in size in minimally adjusted and fully adjusted models (OR=1.26, 0.95-1.90; OR=1.20,
0.83-1.74). This study had a variety of sources for controls and a control participation rate of
48%, which is of concern if this caused selection of controls that does not reflect the population
exposure to glyphosate. To examine the accuracy of self-reported pesticide use, McDuffie
conducted a validation study comparing questionnaire data from farmers to records from a local
chemical supplier on pesticide purchases. They stated that concordance between self-reported
and sales record based exposures was excellent, although more specific information was not
provided.
       Pesticides sometimes exert stronger health effects when mixed (co-exposure) with other
pesticides than when used alone. McDuffie reported that when glyphosate exposure was mixed
with dicamba, the risk was increased (OR=1.92, 95% CI 1.39-2.66, minimally adjusted model;
OR=1.88, 95% CI 1.32-2.68; fully adjusted model) compared to dicamba exposure alone
(OR=1.59 and 1.68, respectively).35 Similarly, when glyphosate exposure was mixed with
malathion (OR=2.10, 95% CI 1.31-3.37) it was stronger than when farmers only reported using
glyphosate alone (OR=0.92, 95% CI 0.54-1.55).41
       The study by Cocco was limited in how much we can glean from its results, as only 4
cases and 2 controls had ever used glyphosate. The prevalence may have been low in this study
because the Cocco study included people with a range of occupations, unlike many of the other
studies which focused on agricultural populations. Cocco reported increases in B-cell lymphoma
with glyphosate use (OR= 3.1, 9% CI 0.6 to 17.1).42
       Less informative for the current evaluation is the Cantor study43 because, although it was
carefully conducted, cases (in Iowa and Minnesota) were included that were diagnosed 1980-
1983. Hence, only 6-10 years could have elapsed between a potential first glyphosate exposure


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and NHL diagnosis, which for cancer epidemiologic studies is considered an inadequate latency
period (see above) and one would want to see an at least the median latency period of 10 years.
Again, for an individual the latency period may vary (1 year to many decades), but on average
for a study one would prefer a minimum latency period of on average 10 years.
       The Lee study44 utilized Cantor’s cohort to build upon by including subjects from
Nebraska who were diagnosed July 1983 to June 1986, thus this study includes cases with a
longer latency period, which improves confidence in results. Lee reported increases in NHL
among non-asthmatics (OR=1.4, 95% CI 0.98-2.1, N cases=827) and a smaller elevated effect
estimate in asthmatics with wide confidence intervals (OR=1.2, 95% CI 0.4-3.3) due to the small
number of asthmatic cases (N=45).
       De Roos 2003 reanalyzed the US studies1 and used hierarchical regression in addition to
conventional logistic regression models, a statistical technique (described above) which can
account for co-exposures and correlations between pesticides but makes some strong
assumptions about all pesticides or groups of pesticides having similar effects on the outcomes.
Using regular logistic regression, De Roos reported an increased risk with glyphosate use (OR
=2.1, 95% CI 1.1 to 4.0) and in the hierarchical regression analysis the effect estimate was
smaller 1.6 and the 95% CI included the null value of 1 (95% CI =0.9-2.8). Notably, the OR for
glyphosate was among the highest of 47 pesticides tested, which suggests that glyphosate may
indeed be the pesticide most strongly related to NHL in these farmers among all pesticides they
used. The selection of pesticides for this paper was based upon a “carcinogenic probability
factor” developed for all cancers, not specific to NHL, so it is not clear whether the hierarchical
regression represented the best analytic strategy for NHL since – as stated above – the model
assumes that all pesticides included have a similarly strong effect on the outcome; thus we would
expect the largest effect estimate to be pulled towards the null of 1 which is what happened.
Also, in terms of possible exposure mismeasurement, a validation of questionnaire responses had
previously been conducted which reported strong agreement between self-reported pesticide use
in comparison to pesticide supplier records, and recall was similar between cases and controls.45
       The French study by Orsi and colleagues38 utilized a hospital-based study design, i.e. in
this design cases and controls are recruited from among hospital patients. This is in contrast to
nearly all of the other studies described above which used a population-based study design (with
the exception of some countries within the Cocco study). Population-based studies are


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considered superior to hospital based designs, because epidemiologic studies aim to select
controls from the same population that gave rise to the cases, because it improves study validity.
The patients who go to a hospital for NHL treatment may not live in the same area as the control
patients selected; this can occur if the study hospitals are regional cancer centers which draw
cases from a large geographic area. Orsi’s study recruited controls who had been admitted
largely from orthopedic and rheumatological admissions (mostly fractures, injuries and back
pain). This may be problematic because orthopedic and musculoskeletal illnesses and injuries are
conditions that typically do not require travel to a distant center for treatment, suggesting there
was possible non-overlap between the case and control populations. In addition, hospital patients
are an unusual group: they tend to be older, sicker, and have higher tobacco and alcohol use (and
other behavioral/lifestyle differences) than the general population.46-49 Consequently, the use of
hospital controls can create unexpected and surprising findings (such as studies of cancer where
the controls smoke more than the cases48). Further, biases can occur when the reasons for
hospitalization are related to exposure. For example, if people exposed to glyphosate are more
likely to be hospitalized (due to, perhaps, higher rates of time spent outdoors leading to greater
injuries and back pain in farmers/gardeners) then this would bias the results. This may indeed be
the case because there are known higher rates of musculoskeletal injuries among gardeners, and
these people may also have higher glyphosate use.50-52 Orsi and colleagues were unable to
observe any association between glyphosate and NHL (OR=1.0, 95% CI 0.5 to 2.2; all NHL
types combined). When authors examined risk by subtype, elevated risk with wide confidence
intervals was reported for follicular lymphoma (OR=1.4, 95% CI 0.4-5.2) but not large diffuse
large cell lymphoma (OR=1.0, 0.3-2.7). However, with 244 cases this study has only limited
statistical power to conduct any subtype specific analyses.
        De Roos 2005 is an analysis of the Agricultural Health Study (AHS).37 Pesticide
applicators were recruited for this study between 1993-1997 and followed for incidence of
cancers up until December 2001, therefore active follow-up ranged from 4-8 years with a median
follow-up periodii of 6.7 years, which is considered a short latency period in cancer
epidemiology. Only 92 NHL cases had developed in the cohort by end of this follow-up period,


ii The follow-up period is the time that elapses between the start and the end of a study. Typically,
participants are followed from the start date until 1) cancer diagnosis; 2) death; 3) study end; or 4) loss to
follow-up (e.g. the study investigators cannot locate them or they drop out of the study), whichever comes
first.

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for cancer development may not be known.53 Among all pesticide applicators included in the
analysis, 76% had ever used glyphosate, which made it among the most common pesticide used
among applicators in this study. This is in line with other research on glyphosate, which reports
that as of 1999, glyphosate was the highest selling crop-protection product on the market.55
However, it is important to note that the first year genetically engineered, glyphosate-tolerant
crops were planted commercially in the U.S. is 1996, and that prior to this date glyphosate
accounted for just 3.8% of the total volume of herbicide active ingredients applied in
agriculture56 while glyphosate accounted for half of the total agricultural herbicide use in 2009
[see Coupe]. Also, in a 20-year timespan covered by EPA sales and usage reports (1987–2007),
glyphosate use rose faster and more substantially than any other pesticide (in 2007, usage was in
the range of 81.6–83.9 million kilograms, more than double the next most heavily sprayed
pesticide (atrazine: ~33.1–35.4 million kilograms) making it the most heavily applied pesticide
in the U.S. with 2/3 of the share of the total volume having been applied in just the last decade.57-
59


        Given the persistence of glyphosate in soil (with a half-life of 29-60 days60,61), the
possibility of exposure to glyphosate due to drift from fieldsiii ,62-64 and a possibility of
contaminated water supplies,65 it is plausible that passive exposure may have ultimately been
much higher among agricultural communities and pesticide applicators than the 76% who
reported ever use; more importantly, the baseline exposure assessment in the AHS only covered
the first two years of very intensive use of glyphosate i.e. those who were enrolled in 1996/97.
When exposure to an agent is extremely high—and potentially even ubiquitous as in a cohort of
pesticide applicators, who spend their days in agricultural fields—it eventually becomes
impossible to study its health effects since there are little or no exposure contrast to measure at




iii Studies of pesticide drift suggest the distance that pesticides travel depends upon several factors: first,

the method of application, with air spraying by plane or helicopter (common due to its ease of use)
leading to further drift than ground spraying, because the spraying occurs higher above crops; secondly,
wind speed; and thirdly, pesticide droplet size, with smaller droplets travelling further. Estimates of
pesticide drift vary from 74 meters in an area with low wind, up through >2400 meters under windy
conditions. Studies of glyphosate pesticide drift suggest droplets can travel upwards of 800-1000 meters.
According to the US EPA, spray drift has been reported to be a problem with glyphosate, as there have
been multiple reports of damage from glyphosate to non-target crops.


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least at the ever/never or cruder types of classification that do not rely on biomarker assays of
dose.iv,66
        De Roos (2005) also conducted dose-response analyses by examining intensity-weighted
exposure (years of use X days per year X intensity level), grouped into 3 levels (0.1-79.5; 79.6-
337.1; and 337.2-18,241); and by cumulative exposure days (years of use X days per year),
categorized into 3 groups (1-20, 21-56, 57-2,678). Authors decided to compare the cancer risk in
these exposed groups not to that among the never exposed, but instead compared high exposure
to low exposure. While this type of comparison attempts to control for and eliminate other risk
factors that may distinguish non-exposed from exposed (hence reduce potential confounding
bias) this type of approach also reduces any remaining exposure contrasts even further and thus
reduces the ability to estimate risk increases with exposure and make the effect estimates also
less comparable to those form other studies.


Industry-sponsored studies
        A meta-analysis by Chang and Delzell was sponsored by Monsanto.67 This meta-analysis
found similar results to the above meta-analyses for any increases in NHL (meta-OR: 1.3, 95%
CI 1.0-1.6) and particularly elevated risks for B-cell lymphoma (meta-OR: 2.0, 95% CI 1.1-3.6).
This study also found extremely low heterogeneity across studies— unusual in most meta-
analyses— supporting the consistency of findings across different settings.


Bradford-Hill criteria evaluation
        The strength (effect size) criterion is partially met since the overall meta-analytical
(point) effect estimates reported for ever never glyphosate use are between 1.3 and 1.5 reflecting
a weak to moderate size association. However, the effect estimates for longer or more extensive
use in several studies were larger i.e. between 2 and 3 and this can be considered a stronger
endorsement of a causal relation; it is further supported by the observed dose response
(biological gradient such that risk increases with dose - another Bradford Hill criterion) that these
studies found (also note: a small association does not mean that there is not a causal effect,

iv Rose argues that when a risk factor is ubiquitous in a population, it may strongly influence the

population incidence of a disease, but may not identify high-risk individuals within a population. For
example, in a society where everyone smokes, smoking will not identify high-risk individuals for lung
cancer.


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though the larger the association, the more likely that it is unbiased and thus causal). In terms of
consistency, this criterion is met since positive associations have been reported for different
populations and in different places and different time periods which strengthens the likelihood of
a true effect. Temporality i.e. that the cancer occurred after exposure and that there is an
expected delay between the cause and effect has been shown i.e. all exposures were assessed and
recorded for the periods prior to NHL occurrence. Unfortunately, only one study examined the
influence of exposure lagging i.e. considered the latency period: that study found a strong
association with a 10-year lag, which further corroborates causality in terms of cancer etiology.
The specificity criterion (i.e. that one specific exposure causes one specific outcome) is hard to
apply in the case of herbicide or pesticide exposure since almost none of the farmers/pesticide
applicators is expected to solely be exposed to glyphosate, since most farming operations require
the use of multiple pesticides over time. Also in the case of blood system cancers, one could
argue that different pesticides have possible carcinogenic effects on different cell types.
Nevertheless, it is of interest that NHL is one cancer reported consistently among farmers for the
past 2 to 3 decades, and glyphosate is consistently the most widely used herbicide in farming
especially after 1995 with the advent of genetically modified crops. Finally, some studies
suggested that types of NHL that are showing T14/18 translocations in lymphocytes are the ones
most likely caused by external agents including some pesticides and smoking and this increases
also biologic plausibility for the action of genotoxic or oxidative stress pathways (see below)
with certain pesticides such as glyphosate.


Biological plausibility.
       Biomonitoring studies affirm that some (not all) persons who apply glyphosate
occupationally have measurable glyphosate excreted in urine, and measurable glyphosate is also
seen in farming household members who reside close to treated fields.68-70 Research on exposed
agricultural workers suggests increases in genomic instability (binucleated cells, micronuclei).71
Rodent studies report increases in DNA oxidative damage (increases in 8-OHdG in either kidney
or liver; lipid peroxidation) as well as cytogenetic damage (sister-chromatid exchanges, increases
in micronuclei), and DNA single-strand breaks.72-74 Cytotoxicity and genotoxicity are also
reported in studies of human cells.75



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       Roundup vs. glyphosate. One study compared the effects in rodents of glyphosate to those
of Roundup, and results were similar with regards to cytotoxic and genotoxic effects.73 While a
plausible mechanism between cause and effect is helpful, Bradford Hill noted that knowledge of
the mechanism is often limited by current knowledge; nevertheless for glyphosate two
mechanisms have recently been proposed, oxidative stress and genotoxicity, and been confirmed
by the laboratory experiments listed above. Finally, while coherence between epidemiological
and laboratory findings increases the likelihood of a true effect, Bradford Hill noted that "... lack
of such [laboratory] evidence cannot nullify the epidemiological effect on associations". Due to
ethical concerns, there will never be any human experimental evidence for glyphosate toxicity or
carcinogenicity, but human cell based studies and animal experiments can substituted as model
systems and have increasingly been used in the recent past.


4.     Conclusions
       The epidemiologic studies as a whole support an increased risk of NHL with exposure to
glyphosate or glyphosate based formulations, including Roundup. Due to the rarity of this
disease, many of the earlier studies were small in size, leading to wide confidence intervals; yet
findings were consistent with nearly all studies having point estimates above 1.0. In the pooled
and meta-analyses, results are consistent and unequivocal. Studies that assessed dose also
generally found that higher levels of exposure were associated with increased risk and
importantly in the one study that did assess the importance of having been exposed more than 10
years prior to a diagnosis of cancer, the results clearly pointed to those exposures as the relevant
one as compared to the more recent exposures (within 10 years) increasing plausibility of
associations greatly.
       In my opinion, to a reasonable degree of scientific certainty, glyphosate causes NHL.
Furthermore, to a reasonable degree of scientific certainty, glyphosate based formulations,
including Roundup, cause NHL.




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Beate Ritz, M.D., Ph.D.

Date: May 1st, 2017

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             EXHIBIT A
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2001-2002       Member of the external advisory committee for the California Biomonitoring Planning
                Project conducted by the Environmental Health Laboratory’s Biomonitoring Project
                (CDHS)
2002            Member of the EPA Science Advisory Board for Human Health Research Strategy
                (HHRS)
2002-2004       Member of the external advisory committee for the California Environmental Health
                Surveillance System (Governor Davis appointee to expert working group for SB 702)
2003-2006       Member of the Ethic Committee for the International Society for Environmental
                Epidemiology
2003-2004       Member of NAS, IOM Committee on Gulf War and Health, Phase 3: Literature Review of
                Selected Environmental Particulates, Pollutants, and Synthetic Chemical Compounds
2002-2004       Member of the external advisory committee for the California Environmental Health
                Surveillance System (Governor Davis appointee to expert working group for SB 702)
2006            Member of NAS, IOM Committee on Gulf War and Amyotrophic Lateral Sclerosis
2006            Member of the Scientific Steering Committee for Pediatric BioBank in California
2007            Robert M. Zweig M.D. Memorial Award (Clean Air Award) from the California South
                Coast Air Quality Management District
2007            Appointed as a Collegium Ramazzini Fellow
2007            Scientific Organizing committee for the PPTOX conference in Faroe Island
2008            Scientific Organizing committee for the ISEE conference in Pasadena
2008            Member of the Environmental Exposures Working Group conducted by RTI International
                for the PhenX project of GWA research at NIH
2009            Member of NAS, IOM Committee on Gulf War and Health, Phase 4
2008-09         Member of the U.S. EPA CO standard setting panel for (CASAC: Carbon Monoxide
                National Ambient Air Quality Standards)
2009-2012       Elected Councilor for the International Society for Environmental Epidemiology (ISEE)
2010-current    Member of the Conference Organizing committee of the ISEE
2009            Award from the American Parkinson’s Disease Association (APDA) for outstanding
                contributions to the medical and scientific communities towards the advancement of
                Parkinson's disease research
2010-2013       Member of the External Advisory Board for the Superfund site center grant at University
                of Washington
2010-2013       Member of the External Review Board for the Swiss Tropical and Public Health Institute
                in Basel
2013            Scientific Organizing committee for the ISEE conference in Basel/Switzerland
2012-current    Member of CA-EPA Scientific Review Panel on Toxic Air Contaminants
2012            Affiliate member of the Institute of the Environment and Sustainability
2014            Scientific Organizing committee for the ISEE conference in Seattle Washington
2014-current     Member of NAS/IOM committee on Incorporating 21st Century Science into
                Risk-Based Evaluations

FUNDED RESEARCH
NNH12ZDA006O-EVI3
Agency: NASA          (PI: Ritz)
Total Direct Costs to UCLA: $1,294,244
Multi-Angle Imager for Aerosols (MAIA)                                               08/01/16-11/30/25
This project will assess air pollution and adverse birth outcomes using exposure data provided by Dr.
Diner’s group from the MAIA NASA project. UCLA researchers will be responsible for the modeling the
effects of prenatal air pollution exposures on adverse birth outcomes derived from vital statistics records
for multiple locations across the world.

1 U01 HD087221 (PI: Devaskar/UCLA Ob-GYN)
Agency: NIH/NICHD                                                           Period: 01/01/16-12/30/19
Total Direct Costs:      $2,999,640
Imaging Innovations for Placental Assessment in Response to Environmental Pollution
The objective of this proposal is to develop and evaluate a suit of cutting-edge multi-parametric magnetic
resonance imaging (mp-MRI) technologies and translate these novel placental imaging modalities to
assessing the impact of environmental pollution exposure on prediction of placental insufficiency.

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Psychosocial stressors, air pollution and childhood respiratory health in LAFANS
Agency: NIEHS              R03ES025908 (PI: Ritz)                            Period: 07/01/15-06/30/17
Total Direct Costs        $100,000
This study will add to the previous literature by constructing a more holistic measure of the stress
perceived by the child, and use that measure to determine if a child’s perceived stress modifies their risk
of asthma or reduced lung function from air pollution.

Pesticide Exposures and Risk of Cerebral Palsy
Agency: NIEHS            R03ES025904 (PI: Ritz)                             Period: 07/01/15-06/30/17
Total Direct Costs      $100,000
Using records from the California Department of Developmental Services (DDS), we will identify children
born 1995-2007 and diagnosed with CP in California until 2010. For ~10,000 CP cases we will randomly
select 1:10 matched controls from the California birth certificates. Ambient pesticide exposure estimates
pre-pregnancy, during pregnancy and/or first year of life for each child will be estimated using a
Geographic Information System (GIS) model we previously developed based on the California Pesticide
Use Reporting (PUR) system. We will examine specific vulnerable periods in pregnancy (trimesters or
months of pregnancy) to assess pesticide exposure effects on CP.

Autism, Metabolomics, and Environment (AIME)
Agency: NIEHS             R21ES25573 (PI: Ritz)                          Period: 07/01/15-06/30/17
Total Direct Costs       $275,000
We will assess whether autism risk factors can be identified using metabolomic biomarkers of exposure in
stored maternal serum samples from mid-pregnancy from 200 case and 200 control pregnancies in
Central California and compare biomarker exposure patterns with modelled air pollution and pesticide
exposures. Metabolomics analyses will be performed in a targeted as well as untargeted manner with
high-resolution metabolomics that uses mass spectrometry and advanced data extraction algorithms to
quantify up to 20,000 chemicals in small biologic extracts.

Air Pollution and Childhood Autism
Agency: NIEHS               R21ES024006 (PI: Ritz/Ehrenstein – multiple PI) Period: 07/01/15-06/30/17
Total Direct Costs        $275,000
We use highly sophisticated modeling and analytical techniques for the detailed spatial and temporal
assessment of air pollution to examine their influence on neurodevelopment in a California birth cohort
linked to autistic disorder records of the CA Department of Developmental Services.

Environment and cognitive decline in older Hispanics
Multi-PI: Ritz/Haan
Agency: NIEHS             Type: R01- RES023451A                               Period: 04/01/15-03/31/19
Total Direct Costs: $ 2,000,000
The goal of the proposed research is to investigate whether long-term exposure to two ubiquitous
environmental exposures, air pollution and pesticides, contribute to cognitive decline and dementia in
elderly Mexican Americans (MA) from the “Sacramento Area Latino Study on Aging” (SALSA) cohort.
We capitalize upon our expertise in modeling air pollution and pesticide exposure and plan to model 1)
long and short term regional, local, and traffic related air pollution using monitored criteria pollutants,
CALINE4 - emissions and land use regression (LUR) models; and 2) long-term exposures to pesticides of
specific chemical classes with our GIS model; and 3) assess impairment in cognitive domains and the
onset of dementia longitudinally based on multiple complex environmental exposure patterns while taking
into account vulnerability due to genetic and physiologic risk factors for dementia.

Air Pollution and Autism in Denmark
PI: Ritz
Agency: NIEHS              Type: R21                                             Period: 04/01/15-03/31/17
Total Direct Costs: $ 275,000
The goal of the proposed research is to utilize Danish nationwide population-based registers and
sophisticated individual-level air pollution exposure measures to assess whether early life exposure to
traffic-related and particulate air pollution during critical periods of fetal development are associated with
autism risk. We will use the Danish National Birth Cohort (DNBC) which enrolled pregnant women and
collected extensive prospective risk factor data during pregnancy and early life for ~100,000 children

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among whom 720 are already diagnosed with ASD to examine potential confounding bias for a large
number of risk factors assessed in pregnancy.

Air Pollution and Cardiovascular Diseases: Identification of Novel Biomarkers
Agency: NIEHS             R21 ES024560 (PI: Zhu)                     Period: 05/01/15-04/30/17
Total Direct Costs $275,000
Objectives: The goal of this project is to identify novel and sensitive biomarkers of cardiovascular health
effects, in association to air pollution exposures.
Role: Co-I


Environmental exposure, DNA methylation, and Parkinson’s disease
Agency: NIEHS            21ES024356 (PI: Ritz/ Horvath)  Period: 08/06/14 – 07/31/16
Total Direct Costs: $ 250,000
Environmental exposure, DNA methylation, and Parkinson’s disease
Here we use a powerful new tool and systems biology analytic methods to identify signatures for toxic
exposures that evoke long-term biologic responses. Using DNA methylation we will investigate specific
epigenetic markers (CpGs) correlate with toxic exposures and the role these epigenetic changes play in
PD progression using epigenome wide technologies combined with analytic tools to integrate these data.
We will investigate epigenetic determinants of Parkinson's disease in over 800 subjects with existing
biospecimens.
Role: PI

Maternal comorbidities, prescription drug use in pregnancy, and childhood cancer (COMPAC): a
record linkage study in Denmark
PI: Heck
Agency: NIH/NCI                   Type: R21CA175959                      Period: 04/01/14-03/31/16
Total Direct Costs: $ 275,000
This study aims to link several large-scale databases in Denmark to examine maternal health and
medication use in pregnancy in relation to childhood cancers. We propose to examine common
pregnancy conditions that have been linked to cancers in adults and children in other studies as well as
common medications taken in pregnancy which are suspected carcinogens or linked to cancer in other
studies.
Role: Co-I

Inflammatory Cytokine Polymorphisms, Air Pollution, and Very Preterm Birth
PI: von Ehrenstein
Agency: NIEHS                       Type: R21ES022734                     Period: 07/01/13 - 06/30/15
Total Direct Costs: $ 275,000
We examine the hypotheses that maternal exposure to air pollutants during pregnancy is associated with an
increased risk of very preterm birth (VPTB, <32 weeks gestation), and that polymorphisms in inflammatory
genes modify the influence of air pollution on the risk of VPTB. We use data from the CA Very Preterm Birth
(CVPTB) Study, a nested case-control study of VPTB from 5 counties in Southern CA known for high
particulate matter, ozone, and traffic exposures that has genotyped SNPs related to PTB in 26
inflammatory/immune response pathway genes in mother-infant pairs and will utilize a combination of
extensive air monitoring data and air pollution modeling approaches (land use regression (LUR), CALINE4,
kriging) to estimate air pollution exposures in pregnancy for CVPTB Study subjects.
Role: CO-I

Pesticide Exposure and Childhood Autism
PI: von Ehrenstein
Agency: NIEHS                   Type: R21ES022389                         Period: 01/01/14 - 12/31/15
Total Direct Costs: $ 275,000
We examine the hypothesis that exposure to specific pesticides during vulnerable periods, particularly during
fetal development, determines risks of subsequent development of autistic disorder (AD). We developed a
geographic pesticide exposure assessment tool (GRAPES) that utilizes the unique California Pesticide Use
Report system, in combination with agricultural land-use maps, to derive record-based estimates of historical
residential exposures, and expect to identify >20,000 autism cases with diagnoses up to the age of 72

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months from the CA-DDS database born in CA 1997-2009 and >1,700 from agricultural areas as well as
1:10 age-sex match controls from birth records, the largest cohort ever to address hypotheses that
exposures to specific chemicals (e.g. neurotoxic or endocrine disrupting agents) contribute to AD during
vulnerable periods of development.
Role: CO-I

Parkinson’s Susceptibility Genes and Pesticides (PEG-Renewal)
Principal Investigator: Ritz
Agency: NIEHS/NINDS                Type:R01ES010544                                 03/01/11-11/30/15
Total Direct Costs: $ 2,500,000
In this renewal of an epidemiologic population-based case-control study we recruit 500 additional PD
patients in three rural California counties and will assessed their exposures to pesticide exposures and
the effects of gene-pesticide interactions.
Role: PI

Systems genetic and reverse phenotypic analysis of age and retirement.
PI: Horvath (UCLA)
Agency: NIA                       Type: R01AG042511-02                               07/01/13 - 06/30/17
Total Direct Costs: $ 1,000,000
We will apply/develop state of the art computational, statistical, and bioinformatic approaches with which
to investigate the association between genetic data and aging- related phenotypes. Specifically, the study
uses data from the Health and Retirement Study (HRS) and a systems biology approach to identifying
relevant SNPs and genetic pathways and machine learning techniques and reverse phenotyping methods
to better understand the complex relationship between genetics and aging outcomes including cognition
and wealth.
Role: CO-I

Exposure to C8-chemicals and autism, ADHD, and cerebral Palsy in the Danish Birth Cohort
PI: Jorn Olsen (UCLA and Aarhus University, Denmark)
Agency: Danish Medical Council
Total Direct Costs (at UCLA): $ 250,000                                                      01/01/11 -
08/31/15
The overall goal of the project is to assess the impact of C8 persistent organic pollutants in maternal
serum during pregnancy and childhood outcomes of autism, ADHD and cerebral palsy in the Danish Birth
cohort using follow-up data from the National Danish medical registry systems.
Role: CO-I

A Cohort Study on Air Pollution and Breast Cancer in Los Angeles County
IIR13262718                    Wu (co-PI)                                            02/13/14-02/150/17
Susan G Komen                    $217,728
The overall objective is to examine the role of air pollution and risk of breast cancer among whites and
non-whites in Los Angeles using the large Multiethnic Cohort Study
Role: Co-Principal Investigator

Improvements in Air Quality and Health Outcomes among California Medicaid Enrollees Due to
Goods Movement Actions ― Phase I: Assessing Air Quality Changes
PI: Meng , UCLA
Agency: Health Effects Institute (HEI) #: 4914-RFA11-1/2-6                       09/01/12 – 08/31/15
This phase of the project will evaluate the effect of goods movement emission reduction actions on
ambient air quality in goods movement corridors, non-goods movement corridors, and areas outside of
these two corridors in 10 major California counties between the 2003-2007 pre-policy and 2008-2012
post-policy years.


COMPLETED RESEARCH
Assessing and Reducing Taxi Drivers' Exposure to Ultrafine Particles
PI: Yifang Zhu (UCLA)         Type: R21OH10196                                     09/01/12–08/31/14
Agency: CDC/NIOSH
Total Direct Costs: $ 275,000

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Goal: The major goals of this project are to develop ultrafine particle exposure assessment instrument
and explore novel low-cost ultrafine particle exposure mitigation strategies for taxi drivers.
Role: Co-I

Air Pollution and PD in Denmark
PI: Ritz                           Type: R21-ES022391                                12/01/12-30/11/14
Agency: NIEHS
Total Direct Costs: $ 275,000
This study will use a sophisticated and validated GIS-based dispersion model, AirGIS, to assess
exposure to traffic-related air pollution in PASIDA participants; i.e. NO2/NOx. Specific aims are to: (1)
assess the influence of long-term traffic-related air pollution exposure on PD risk for 1,867 cases and
1,920 population controls combining existing PASIDA data with new exposure measures from AirGIS; and
(2) investigate the combined action of air pollution and genetic variants in inflammatory genes previously
linked to PD.
Role: PI

Parental Occupation and Childhood Cancers in Denmark
PI: Heck (UCLA)                    TYPE: R03 ES021643                               4/15/12-3/31/14
Agency: NIEHS
Total Direct Costs: $ 50,000
The specific aims of this study are: 1) Create a linked database of all childhood cancers in Denmark
diagnosed 1965-2010 with recorded information on parental employment. 2) Examine the relation
between parental employment and childhood cancers focusing on maternal occupational exposures. 3)
Examine specific hypotheses in childhood cancer risk (occupational social contact; contact with animals;
organic dust; welding fumes; bitumen fumes; outdoor work; and several associations seen in previous
literature (solvents, paints and pigments, motor vehicle exhaust related occupations)).
Role: Co-I

Pesticides and Childhood Cancers
Principal Investigator: Ritz (UCLA)
NIEHS R21- ES019986                                                             4/1/11 – 12/31/13
Total Direct Costs: $ 275,000
The specific aims of this study are to examine associations between prenatal exposure to pesticides and
specific childhood cancers in California between 1980-2009 using ambient measurement data using our
GIS model of pesticide exposures based on land use maps and pesticide use report (PUR) data.

UCLA Center for Centers for Neurodegeneration Science (CNS; former CGEP)
Director: Chesselet, UCLA; Co-director: Ritz
NIEHS P01ES016732                                                                    09/15/08-08/31/13
Total Direct Costs: $5,000,000
We have previously shown associations between high levels of exposure to specific environmental
pesticides and Parkinson's disease and will build on this knowledge to determine the mechanisms of
action that may be causing this association. We will use an integrated, multidisciplinary approach to
identify additional agricultural pesticides that are disrupting similar molecular pathways, and determine
whether these also increase the risk of Parkinson's. This work is expected to shed light on the
pathological processes involved in sporadic Parkinson's disease, the most frequent form of the disorder,
and could have public health implications for precautions in the use of some pesticides.
Project 4: Pesticides and Genes in PD: Studies in Humans
Principal Investigator: Ritz
NIEHS                                                                                09/15/08-08/31/13
Total Direct Costs: $1,250,000
This project will use the existing PEG data to test biological candidate genes and newly identified putative
environmental toxicants for association with PD. We will recruit and collect biological (DNA) samples from
and construct exposures estimates for 400 additional population controls. This will enable us to test new
hypotheses for rarer exposures to specific toxins and will allow us to investigate gene-gene (GxG) and
gene-environment (GxE) interactions with sufficient power. Targeted toxins are either (a) interfering with
the ubiquitin proteasomal system (UPS), (b) altering microtubule integrity, and/or (c) inhibiting the
aldehyde/alcohol dehydrogenase. Targeted genes include UBE1 and UBE1L2; PSMC2, 3, 4, and 5;
HIP2; SKP1A; GSK3B; CDK5; MAPT, Sirt2, and ALDH and ADH gene clusters.
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Registry of Parkinson’s Disease Study In Denmark (PASIDA)
Principal Investigator: Ritz
NIEHS RO1 - ES013717                                                           09/01/06-08/31/13
Total Direct Costs: $5,600,000
We conduct 1) a case-control study of ~13,000 PD cases and age-gender matched controls from the
Danish population via passive record linkage by unique ID between the National Patient Register,
Pharmacy Database, and National Pension fund to identify risk factor information contained in these
records (e.g. occupations, medication use, diseases prior to PD onset); and 2) recruit actively ~2500 of
the most recently registered PD patients and population controls to collect additional risk factor
information per interview and biological materials for gene-environment interaction analyses and to
characterize PD patients phenotypically.

Air Pollution and Childhood Cancers
Principal Investigator: Heck (UCLA)
NIEHS R21- ES018960                                                               4/1/10 – 12/31/13
Total Direct Costs: $250,000
The specific aims of this study are to examine associations between prenatal exposure to motor vehicle
related air pollution toxics and specific childhood cancers in Los Angeles County and all of California
between 1980-2009 using ambient measurement data, land use based regression (LUR) and CALINE4
models.

California Parkinson’s Disease Registry Pilot Feasibility Study
Principal Investigator: Ritz
DOD                                                                              09/01/07-04/30/12
Total Direct Costs: $390,000
The primary goal is to conduct a pilot study for the legally mandated statewide population-based PD
registry. We will identify PD cases in Kern, Tulare and Fresno counties from legally mandated sources
(pharmacists, health care institutions, physicians and other providers). A secure prototype database will
be established, and associations between PD and toxicant chemical exposure will be determined by
linking to a database of toxicant chemicals established previously by UCLA based on California state data
(e.g. the pesticide use databases).

UCLA UDALL Parkinson’s Disease center
Principal Investigator: Chesselet, UCLA
NINDS Type: P50 NS38367                                                           04/01/06-03/31/12
Total Direct Costs: $7,500,000
Project 6 within the center (budget of $ 500,000 annual direct costs): Progression and Health
Impacts of PD Motor and Non-Motor Manifestations (C-PI Ritz)
Research goals are to assess whether development and progression of PD motor and non-motor
manifestations in 300 PD patients ascertained in the PEG study (PI: Ritz see below) are influenced by
environmental, behavioral, and social factors and by genetic variants of ApoE and serotonin transporter
alleles; and to determine the relative contributions of progression of motor and non-motor manifestations
of PD to changes in HRQOL over time.

Sunlight exposure and variations in vitamin D metabolic genes in Parkinson’s disease
Principal Investigator: Ritz
NIEHS R03- ES017139                                                             09/01/09-08/31/11
Total Direct Costs: $100,000
The goal of the proposed research based on the PEG study population is to examine the hypothesis that
long-term low levels of vitamin D either through inadequate sunlight exposure or alterations in metabolic
genes that influence physiological vitamin D levels increase the risk of PD. We will test associations
between long-term UV exposure measures and PD and examine whether genetic alterations presumed to
result in different physiological vitamin D activity in genes critical to the vitamin D pathway (VDR,
CYP27B1 and CYP24A1) increase the risk of PD.

Traffic-Related Air Pollution and Ultrasound Measures of Fetal Growth
Principal Investigator: Wilhelm Turner (UCLA)

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NIEHS R03- ES017314                                                                  04/01/09-03/31/11
Total Direct Costs: $100,000
The specific aims of this study are to estimate prenatal exposures to O3 and PM10 and pollutants
originating from traffic (NOx) using CALINE4 air dispersion modeling and examine associations with fetal
size throughout pregnancy using ultrasound measures to examine associations with weight, length, head
circumference, fetal growth ratio, ponderal index, and cephalization index at birth.

Ambient Air Toxics and Adverse Birth Outcomes
Principal Investigator: Wilhelm Turner (UCLA)
NIEHS R03 ES017119-01                                                             12/15/08 – 12/30/10
Total Direct Costs: $100,000
The specific aims of this study are to: (1) examine associations between prenatal exposure to motor
vehicle air toxics and low birth weight (LBW) and preterm birth in women residing in Los Angeles County,
California between 1994-2006 using both ambient measurement data and land use based regression
(LUR) models; and (2) gain information about how LUR models built on NOx measurements reflect
exposures to specific toxins thought to have biological relevance for these outcomes.

Exposure to mobile source air pollution and adverse birth outcomes in the Los Angeles Air Basin
Principal Investigator : Jun Wu (UCI)
NIEHS R21 ES016379                                                                 9/11/08 -12/31/10
Total Direct Costs: $250,000
The overall goal of the project is to improve exposure assessment of air pollution exposure in pregnant
women and investigate the impact of air pollution exposure on adverse reproductive outcomes, such as
preterm birth, low birth weight, and intrauterine growth retardation.

Disparity in asthma among Californians from pollutant exposures.
Principal Investigator: Meng, UCLA
California Air Resources Board                                                 04/22/08- 12/31/10
Direct Costs: $270,000
The goal of the research is to conduct a population-based study to examine the effects of long-term air
pollution exposure near residence on chronic severe asthma and asthma-like symptoms in vulnerable
populations.

Development of Exposure and Health Outcome Indicators for Those with Asthma or Other
Respiratory Problems
Principal Investigator: Meng, UCLA
EPA- R833629                                                                         09/01/07-12/31/10
Direct Costs: $410,000
The goal of this research is to investigate the feasibility of combining existing environmental monitoring
and health survey data to develop indicators that signal trends in exposures and health for those with
asthma or other respiratory problems

Neighborhood Effects on Children's Health & Access to Care
Principal Investigator: A. Pebley, UCLA
HRSA                                                                              09/01/07- 8/31/10
Total Direct Costs: $500,000
The goal of this study is to significantly advance our knowledge about the relative importance of specific
family and neighborhood characteristics in the development of major child health problems. This project is
based on the Los Angeles Family and Neighborhood Survey (L.A.FANS), a longitudinal study of
neighborhoods, families, adults, and children in Los Angeles County

Traffic-Related Air Pollution and Asthma in Economically Disadvantaged and High Traffic Density
Neighborhoods in Los Angeles County, California (with LA F.A.N.S.)
Principal Investigator: Ritz
California Air Resources Board                                              01/06/05-09/30/09
Total Direct Costs: $420,000
The objectives of this research are: (1) to conduct NOx and NO2 monitoring at 200 locations within LA
County neighborhoods with varying levels of economic disadvantage and varying exposures to air

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pollution originating from vehicular sources; (2) to use these monitoring data to help inform land use-
based regression (LUR) models developed to predict traffic pollutant exposures; (3) to use geostatistical
models to estimate regional background concentrations of O3 and PM2.5; (4) to evaluate associations
between exposure to NOx, NO and NO2 and measures of lung function and asthma prevalence,
exacerbation and possibly incidence in children ages 0-17 years in conjunction with the Los Angeles
Family and Neighborhood Survey (L.A. FANS) study; and (5) to evaluate whether concentrations of the
more regionally distributed background pollutants (O3 and PM2 5) confound or modify the effects of exposure
to the more heterogeneously distributed traffic-related pollutants (NOx, NO and NO2) on lung function and
asthma.

Aggregate Exposure Assessment: Longitudinal Surveys of Human Exposure-Related Behavior
Principal Investigator: Irva Hertz-Picciotto, UC Davis
EPA                                                                                 01/12/04-11/30/09
Direct Direct Costs: $388,111
This project develops data collection platforms for longitudinal assessment of exposure-related behavior.
The data characterize short-term, seasonal, and long-term changes in time-activities, food consumption
habits, and use of household and personal care products. We assess exposure-related behaviors at
multiple collection points over time, and evaluate a number of data collection methods for validity
(accuracy), precision, completion rates, cost, feasibility, and user acceptability.

UCLA Center for Gene-Environment Studies in Parkinson’s Disease (CGEP-part of the NIEHS
CCPDER)
Director: Chesselet, UCLA; Co-director: Ritz
NIEHS                                                                             09/01/02-08/31/09
Total Direct Costs: $7,000,000
The overall objective of this Center is to understand how the detrimental effects of pesticides, a
suspected environmental risk factor for Parkinson’s disease, are modulated by genetic variations that
impact dopamine homeostasis in nigrostriatal neurons. The center integrates 3 RO1 research projects
that investigate these questions in fly, mouse, cell culture models and applies the results also to human
genetics (project 1: PI Ritz)
Research Project I within the CGEP center “Environmental toxins and genes that influence
dopamine in Drosophila and humans”
Principal Investigator: Ritz
NIEHS                                                                             09/01/02-08/31/09
Total Direct Costs: $1,000,000
This project examines interindividual variability of dopamine vesicular transporter (VMAT) expression due
to promoter variants in two human populations in parallel with a reporter gene assay. These populations
will be genotyped for functional VMAT2 variants and association analyses of gene-environment
interactions and pesticide exposures collected in the parent grant will be conducted. In addition,
Drosophila genetics will be used to determine how the expression of VMAT affects dopamine-mediated
toxicity and identify genes that modulate VMAT function, which will then be examined in the human
population for their relevance to increase risk of PD.

Parkinson’s Susceptibility Genes and Pesticides (PEG)
Principal Investigator: Ritz
NIEHS/NINDS                                                                       10/01/00-09/30/07
Total Direct Cost: $2,653,852
We are testing the gene-environment interaction hypothesis for Parkinson’s disease by conducting an
epidemiologic population-based case-control study of 400 newly diagnosed PD patients from three rural
California counties matched to population controls; in addition we are collecting data for unaffected sibling
controls. Environmental and occupational pesticide exposure estimate are derived from California
pesticide-use reporting (PUR) and other data. We are examining the effects of gene-environment
interactions by testing for associations of PD using multiallelic repeat markers and genotyping intragenic
single nucleotide polymorphisms (SNPs) and/or deletions in 50 candidate genes.

PD Consortium: Genetic and Environmental Factors in Parkinson’s Disease
Principal Investigator: L. Nelson, Stanford
MJ Fox Foundation                                                     10/01/04-09/30/07

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Total Direct Costs $50,000
We established the Consortium for the Study of Genetic and Environmental Factors in Parkinson’s
disease, with the goal of organizing the collaborative efforts of five investigative groups that have who
have conducted (or are conducting) seven case-control studies of PD. For approximately 1700 PD cases
and 2100 gender- and age-matched control subjects, we investigate how the risk of developing PD varies
according to tobacco and caffeine intake, as well as variants in ten candidate genes that code for proteins
that may be involved in conferring the protective effect of these agents.

Alpha Synuclein and Environmental Exposures: A Study in Humans
Principal Investigator: Langston, The Parkinson’s Institute
MJ Fox Foundation                                                            01/01/05-12/31/07
Total Direct Costs $100,000
We are investigating the joint effects of: (1) consequences of alpha-synuclein over-production and
enhanced mapping of the SNCA promoter region and (2) the biologic effects specific toxicants (e.g.,
rotenone, paraquat, organochlorine pesticides). We take advantage of two unique cohorts at high risk for
pesticide exposure currently evaluated by members of the NIEHS-funded Collaborative Centers for
Parkinson’s Disease Environmental Research (CCPDER) at the Parkinson’s Institute (PI) and UCLA, the
Agricultural Health Study cohort and a population-based study of PD and pesticide exposure in rural
Central California (the PEG study).

Prostate Cancer and Pesticide Exposure in Diverse Populations in California’s Central Valley
Principal Investigator: Cockburn, USC
DOD                                                                              05/01/06-12/31/07
Total Direct Costs: 250,000$
This is a pilot study bringing an innovative collaborative approach to prostate cancer research.
Specifically, this study will apply novel methods of pesticide exposure assessment using Geographical
Information Systems (GIS), examine whether our proposed method of recruiting and approaching cases
and controls for a large population-based case-control study will result in acceptable response rates, or
whether our sample will be biased with respect to socioeconomic status, race, and disease
characteristics, and whether we will be able to obtain sufficient DNA from mailed (Oragene) spit collection
kits to assess effect modification by known relevant genes, and have sufficient stored DNA to assess the
impact of genes that may be discovered in future.

Traffic-related Air Pollution and Adverse Birth Outcomes
Principal Investigator: Ritz
NIEHS                                                                           07/15/01-06/14/07
Total Direct Costs: $641,612
The objectives of this project are to determine whether exposures to elevated and traffic-related ambient
air pollution during pregnancy result in low birth weight, preterm birth, intrauterine and postneonatal
mortality, or cardiac defects in infants born to women living in the South Coast Air Basin (SoCAB). We
performed a cohort study of all births (between 1995 and 1999), fetal and infant deaths (between 1989
and 1997), and conducted a nested case-control study of 2600 women who delivered children in LA in
2003 to collect additional exposure, confounder, and effects modifier data.

Ergonomic Interventions for Sewing Machine Operators
Principal Investigator: Ritz
CDC/NIOSH                                                                         10/01/02-09/31/06
Total Direct Costs: $868,262
We are conducting a randomized trial of a newly developed ergonomic intervention in sewing machine
operators working in LA garment shops. The ergonomic intervention package includes changes in work-
station design, training of employees, and suggestions of improvement in work procedures. We are
examining whether interventions can reduce rates of upper extremity, neck (and lower back)
musculoskeletal disorders, severity of pain and impairment, and lost-time compared to ‘placebo’ (control)
interventions. This study will provide employers, employees and public agencies with evidence of the
effectiveness of ergonomic interventions in order to guide health and safety policy.

Traffic-Related Air Pollution and Acute Respiratory Diseases and Asthma in Children Ages 0-5 in
the SoCAB From 1990-2000

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Principal Investigator: Ritz
California Air Resources Board                                                       01/06/04-09/30/05
Total Direct Costs: $55,000
The aims of this study are to estimate the transient effects of traffic related and background air pollution in
the South Coast Air Basin (SoCab) on the risk for hospitalization for acute respiratory illness and asthma
in children ages 0-5 using a case- crossover study design and a time-series analysis.

Assessment of In-Traffic Exposures and Human Reproductive Health
Pilot project Principal Investigator: Ritz; SCEHSC Center Principal Investigator: Froines, UCLA
EPA                                                                                 07/01/04-06/30/05
Total Direct Costs Pilot Project within the PM-center: $28,000
The goal of this project is to evaluate whether maternal in-vehicle air pollutant exposures during
commutes (either in passenger cases, buses or other means of public transportation) affected the risk of
low birth weight (LBW) and preterm birth in infants born to women living in Los Angeles County, California
between 2003-2004. Commuting behavior (travel time, mileage and/or modeled routes) will be used to
evaluate exposure to motor vehicle exhaust pollutants while in-transit

Molecular Epidemiology and Gene-Environment Interaction
Principal Investigator: Zhang, UCLA
NIH/NIEHS R21 ES 011667                                                     04/01/02-03/31/05
Total Direct Costs: $450,000
This was a planning grant for molecular epidemiology in Environmental genome. The award was to
establish a molecular epidemiology research program focusing on environmental genome.

Uncontrolled Asthma and Exposure to Air Pollutants: Linking Chronic Disease and Environmental
Data Sources
Principal Investigator: Meng, UCLA
CDC/NIOSH/                                                                       10/01/02-09/01/05
Total Direct Costs: $600,000
Based on the California Health Interview Survey (CHIS 2001) data, an extensive air monitoring network,
and detailed information on traffic density we are conducting a population-based epidemiologic case-
control study to: (1) ascertain the relationship between control of asthma and exposure to air pollutants in
Los Angeles County and San Diego County, California; and (2) build and enhance the partnerships
between public health and environmental agencies and local communities.

Center of Excellence for Environmental Public Health Tracking
Principal Investigator: Balmes, UCSF
CDC/ATSDR                                                                    10/01/02-09/01/05
Total Direct Costs (UCLA only): $300,000
The UCLA part of this center grant uses the data from 5,200 California Health Interview Survey (CHIS
2001) respondents who reported having been diagnosed with asthma at some point in their lives and live
in the Greater Bay Area, San Joaquin Valley, and Los Angeles County. Criteria pollutant averages are
employed as measures of background ambient air quality and linked with sociodemographic information
and data on asthma management, access to care, and risk behaviors collected through CHIS for each
targeted respondent.

Community Response to Maternal/Child Heath Disparities
Principal Investigator: Hobel, Cedars Sinai
NIH                                                                              04/1/03-9/30/05
The major goals of this study are to examine the interrelating biological and social-behavioral factors that
contribute to health disparities in pregnancy outcomes and infant and early childhood mortality and
morbidity. We will participate as one of five selected sites in the nation to plan for a multi-centered,
community-based study examining the relationship between environmental factors and child health
disparities.

Extension of the Rocketdyne/AI Worker Cohort Through 1999
Principal Investigator: Ritz
California Cancer Research Program                                                  07/01/00-06/30/04
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CRP award #00-00781V-20218
Total Direct Cost: $324,508
We extended the mortality follow-up of two previously established cohorts of workers employed at
Rocketdyne/Atomics International (now Boeing North American) facility for an additional 5 years and
added a cancer incidence component for the period 1972-1998. This study allowed evaluating the impact
of radiation and some known animal carcinogens on cancer mortality and morbidity.

Assessment Scale for End-of-Life Care in End-Stage Dementia
Principal Investigator: Ackerman, UCLA
Alzheimer’s Association                                                          10/01/00-09/30/03
Total Direct Costs: $217,583
This pilot project developed a scale to assess end-of-life care for end-stage dementia patients and
evaluated its performance using mortality data.

Pilot grant from Southern California Center for Airborne Particulate Matter (SCCAPM)
Principal Investigator: Froines, UCLA; Pilot grant Principal Investigator: Ritz
U.S.-EPA-Star grant                                                             07/01/01-12/31/02
Total Direct Cost: $12,000
The pilot grant supported exposure assessment for an epidemiologic study of traffic related adverse birth
outcomes.

Evaluation and Validation of Pesticide Use Reporting in California
Principal Investigator: Ritz
UC Toxic Substances Research & Teaching Program                               07/01/99-06/30/01
Total Direct Costs: $ 50,000
The goal of this pilot grant was to use biomarker data to evaluate the validity of pesticide exposures
estimates derived from geographic models of environmental exposure based on pesticide use reports and
land use maps in California residents.

Identify and Reduce Work Hazards in Home Health Care Workers
Principal Investigator: Ritz
Institute of Labor and Employment Pilot Study                                    02/01/01-30/08/01
Total Direct Costs: $ 7,500
This pilot project developed and tested a survey instrument and collected preliminary data for a study of
job hazards in 74,000 home health care workers in LA county.

Pilot Study for Gene-Environment Interaction and Parkinson’s Disease Study
Principal Investigator: Ritz
APDA Center Pilot Grant                                                          03/01/99-12/31/00
Total Direct Costs: $35,000
This pilot project involved establishing data resources to improve exposure measures for pesticides, and
setting up of a county-wide networks to reach incident Parkinson’s cases in rural California.

Development of a Temporary Parkinson’s Disease Registry for Southern California
Principal Investigator: Ritz
APDA/Pilot Grant from the PD-center at UCLA                                     03/01/99-12/31/00
Total Direct Costs: $10,000
This pilot project established mechanisms to obtain incident Parkinson’s cases in rural California using
information provided by local health care providers, Parkinson’s disease foundations, clinics, and
Medicare, and to determine which data sources exist for the application of capture-recapture methods to
validate coverage of a future PD registry.

Modeling Air Pollution and Birth Defects
Principal Investigator: Ritz
CBDMP Grant/SCEHS/NIEHS Pilot Grant                                           07/01/00-09/30/00
Total Direct Costs: $5,600
The objective of this project was to examine the usefulness of some advanced statistical modeling
procedures in order to determine whether exposures to elevated levels of ambient air pollutants (PM10,


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CO) at the levels found in the South Coast Air basin (SoCAB) basin caused defects of the cardiac system
of fetuses.

Pesticide Exposure Modeling Based on Historical Use Reporting in California to Investigate Long-
Term Health Effects
Principal Investigator: Ritz
UCLA-USC NIEHS-Center Pilot Grant                                                05/01/99-04/30/00
Total Direct Costs: $18,000
The objectives of this pilot grant were to develop a geographic model for pesticide exposure of California
residents between 1950 and 1990 using satellite images of crops, aerial photographs, and Pesticide Use
Reporting Data from the California Department of Pesticide Regulations.

Epidemiologic Study to Determine Possible Adverse Health Effects on Rockwell/Rocketdyne
Workers from Exposure to Radioactive and Hazardous Substances
Principal Investigator: Morgenstern, UCLA
CPHF/DOE/DE-FG-03-91SF18983                                                    01/10/93-03/31/99
Total Direct Costs: $740,000
The major goal of this study was to test the hypothesis whether exposure to toxic chemicals and ionizing
radiation among Rockwell/Rocketdyne workers caused an excess of cancer mortality.

Hazard Surveillance in the Defense Nuclear Industry
Principal Investigator: Froines, UCLA
CDC/NIOSH/R01-CCR912034                                                      09/01/95-08/31/99
Total Direct Costs: $1,244,745
The major goals of this project were to develop an integrated theory, approach, and methodology to
exposure assessment and hazard surveillance in the U.S. defense nuclear industry.

The Influence of Air Pollution in the Los Angeles Metropolitan Area on the Occurrence of Birth
Defects, 1990-1993
Principal Investigator: Ritz
SCEHSC/NIEHS/UCLA-USC NIEHS-Center Pilot Grant                                 09/01/97-09/30/98
Total Direct Costs: $24,000
The objective of this pilot project were to examine whether the exposure of pregnant women to elevated
levels of ambient air pollutants (Ozone, NO2, PM10, CO) at the levels found in the Los Angeles
Metropolitan Area or the South Coast Air basin (SoCAB) basin cause low birth weight or preterm birth.


RESEARCH CONDUCTED IN GERMANY (1984-1989)
Health effects of airborne-dioxin exposure in Hamburg nursery schools
Rheumatic disorders, working conditions and coping behaviors in female office workers
Work-related knee-joint and elbow injuries in pipe-fitters and welders
Back and neck pain, psycho-social and ergonomic stresses in nursing professions


HONORS AND AWARDS

1999            UCLA Faculty Career Development Award
1999            ‘Rothman’ award presented at SER by C. Poole
1989-1992       Post-doctoral fellowship received from DAAD ("German Academic Exchange Office of the
                Ministry of Research and Technology”)
2001            Delta-Omega Award
2007            Robert M. Zweig M.D. Memorial Award (Clean Air Award) from the South Coast Air
                Quality Management District (AQMD)
2009            Award from the American Parkinson’s Disease Association for outstanding contributions
                to the medical and scientific communities and for my work towards the advancement of
                Parkinson's disease research


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TEACHING

UCLA, School of Public Health, graduate courses, 1995-present
Epidemiology Methods (Core methods course (200B) in the UCLA Epidemiology program)
Environmental Epidemiology
Occupational Epidemiology
Advanced Methods in Occupational and Environmental Epidemiology
Seminar: Occupational and Environmental Cancers
Seminar: Policy Issues in Occupational and Environmental Health

University of Hamburg, Medical School, 1984-89
Lectures and seminars in Medical Sociology for medical students
Lectures and seminars in Psychiatry for medical students

ADVISING AND MENTORING OF DOCTORAL STUDENTS (PH.D) AND POSTDOCTORAL FELLOWS
(SUBJECT OF DISSERTATION OR FELLOWSHIP)– note: this list only includes primary advisees (i.e.
chair of committee and not member of dissertation committee) and does not include master level students
At UCLA:
1997 - 2001     Kurt Straif (Cancer mortality in the German rubber industry)
1998 - 2000     Timothy Clary (Pancreatic cancer mortality and pesticide use in California)
1998 - 2004     Michelle Wilhelm (Traffic-related air pollution and pregnancy related health effects)
1998 - 2004     Rudy Rull (GIS modeling of pesticide exposure and neural tube defects)
1998 - 2004     Anusha Krishnadsan (Occupational physical activity and prostate cancer incidence)
2001 - 2004     Yingxu Zhao (Work place exposures to chemicals and cancer incidence)
2003 - 2004     Gail Asleson Kang (Movement Disorder Fellow: Clinical characteristics of PD patients)
2002 - 2006     Pin-Chieh Jason Wang (Ergonomic interventions and health effects in LA garment
                workers)
2003 - 2006     Chad Lewis (TTHM contamination in drinking water and adverse birth outcomes)
2003 - 2005     Kathrine Hoggatt (co-mentored with Dr Greenland: Air pollution and adverse birth
                outcomes)
2004 - 2008     Angelika Wahner (Doctoral student & postdoctoral fellow: Parkinson’s disease, genetic
                factors and anti-inflammatory drug use)
2004 - 2008     Marie Sharp (The Latina Paradox in Birth Outcomes)
2004 - 2008     Sadie Costello (Parkinson’s disease and life style factors)
2005 - 2008     Shannon Rhodes (Doctoral student & postdoctoral fellow: Iron genetics and Parkinson’s
                disease)
2008 - 2010     Nicole Gatto (Postdoctoral fellow: Vitamin D, sunlight and Parkinson’s disease)
2004 - 2008     Amanda Colligan (Residential pesticide exposure and Parkinson’s disease)
2005 - 2012     Anthony Wang (Occupational pesticide exposures and Parkinson’s disease)
2007- 2011      JoKay Ghosh (Air toxics and adverse birth outcomes)
2008- 2013      Tracy Becerra (Autism and race ethnicity in Los Angeles)
2008- 2013      Erin Jacob-Marcotte (Pesticides in pregnancy and childhood cancers)
2011-2012       Anshu Shresta; post-doctoral fellow (Childhood cancers and the environment)
2011-2013       Pei Chen Lee; postdoctoral fellow (Air pollution and pregnancy biomarkers)
2009-2014       Shilpa Narayan (Progression in Parkinson’s disease)
2009-2014       Christina Lombardi (Air pollution and childhood cancers)
2011-2014       Zeyan Liew: PFOA exposures in the Danish birth cohort and ADHD and autism)
2012 -present Gretchen Bandoli (Stress, asthma and birth outcomes in LA)
2012 -present Kristina Vanderwaal Hool (breast cancer and methylation patterns)
2011- present Kim Paul (Gene-environment interactions in Parkinson’s – PASIDA study)
2011- present Xin Cui (Bias analysis in the PASIDA study of Parkinsons)
2011- present Andrew Park (Pesticides and childhood cancers)
2012- present Vivian Alonso (Nutrition, vitamins use and reproductive health)
2013- present Yu-Hsuan Chuang (Parkinsons, gene methylation, and gene-environment interactions)
2013- present Xiaoqing Xu ( Pharmaceuticals and childhood cancers in Denmark)
2013- present Matt Feaster (Occupations risk factors for childhood cancers)
2013- present I-Fan Shih (Parkinsons and physical activity)
2013- present Negar Omid (Childhood cancer risk factors)

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2013- present Aline Duarte (Parkinson’s non-motor symptoms)
2013- present Chenxiao Ling (Bias analysis in environmental epidemiology)
2014- present Cynthia Kuster (Parkinsons’ and estrogen receptors)
2014- present Zuelma Esquivel (Childhood cancer risk factors)
At University of Washington:
2004-2006      Kathrine Carr (Postdoctoral Fellow: Bronchiolitis and air pollution in LA infants)
At UCI:
2011-2013      Jun Wu (junior faculty mentor for W. Rosenblith award given by HEI)
At the University of Copenhagen, Denmark:
2008-present Line Kenborg (Parkinson’s disease and outdoors work and sunlight exposures)
2007-2009      Kathrine Rugbjerg (Parkinson’s disease and head trauma and auto-immune diseases)
University of Umea/Sweden
2014 Opponent for doctoral student David Olsson (Air pollution and PTB and preeclampsia in
Stockholm)

PARTICIPATION IN GRANT AND CENTER REVIEWS
Reviewer on a NCI Special Emphasis Panel “Improving Exposure Assessment in Environmental and
Occupational Epidemiology of Cancer”, May 2001
Reviewer of the NIEHS-funded Columbia University Environmental Health Sciences Center, May 2002
Reviewer of the Charles Harkin Award Application for Research in Thyroid Cancer, NIH, April 2003
Reviewer of the Wellcome Trust Application “Pre and post-natal exposure to particulate matter and
pregnancy and infant outcomes: an historical cohort study”, 2003
Reviewer of the Health Effects Institute’s (HEI) Walter Rosenblith New Investigator Award application,
April 2003
Reviewer of pilot grants for the Southern California NIEHS center grant (2004 and 2005)
Reviewer of pilot grants for the UCLA-CCPDER center (NIEHS funded) (2003 and 2005 and 2008)
Reviewer for NCI, Epidemiology of Cancer (2004/05 Council EPIC)
Reviewer for several NIH, Department of Health & Human Services meeting applications, 2003-2005
Reviewer (Chair of Review Committee) for a NIEHS-PO1 application (2004)
Appointment to Review Committee of the European Science Foundation (ESF) (2005)
Annual Review of SCEHSC Pilot Project Submission (permanent member 2004-current)
Institutional Patient-Oriented Career Development Programs in the Environmental Health Sciences [K12]
(ES06-005). (2007)
Conference grant applications (2004-2007)
NIH reviewer for Outstanding New Environmental Scientist (ONES) award in the Environmental Health
Sciences (2006)
Member of the EPA's Clean Air Scientific Advisory Committee (CASAC) Carbon Monoxide (CO) Review
Panel (2008-current)
Grant review for an internal NIEHS scientist’s application (Dr. Chen) (2007 and 2008)
Grant review for NIEHS special emphasis panels 2009-2010
Grant review for NIH-BCHI 2011
Pilot grant review for the Northern California Center for the National Children’s Study –Pilot Projects
Program August 2011
External Review of the Neurology Department at Columbia (NY), 2011
Scientific Review of Superfund Site Projects as EAC member for University of Washington, 2012
External Review of the Swiss Tropical and Public Health Institute (TPH), 2012 and 2013
External Review of the Epidemiology Branch at NIEHS, 2013
Review for Harvard NIEHS center pilot grant, 2014
Review of applications for Health Effects Institute (HEI Boston), Rosenblith awardees, 2014
Review for Mount Sinai (NY) NIEHS center pilot grants, 2014
Review for NIEHS USC-UCLAEnvironmental Health Science center pilot grants, 2014
Review of NIEHS conference grants July 2015
Review of Parkinson’s disease grant for Parkinson’s UK foundation in Great Britain

JOURNAL REVIEWER FOR:
American Journal of Epidemiology
Epidemiology
International Journal of Epidemiology
Annals of Epidemiology

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Environmental Health Perspectives
Environmental Health
Occupational and Environmental Medicine
Archives of Neurology
Annals of Neurology
Neurology
Movement Disorders
Pediatrics
JAMA
Lancet
Parkinson’s and Related Disorders
Pharmacogenetics and Genomics
Journal of the Air & Waste Management Association
Journal of Exposure Analysis and Environmental Epidemiology
Chemosphere
Zeitschrift Sozial- und Präventivmedizin (SPM)
Human Reproduction
Women & Health
Etc.

INVITED SEMINARS AND LECTURES (SELECTED)

1. The Health Effects of Low-level Ionizing Radiation, USC, Health Sciences 1996
2. Work Environment and Health, UCLA Health Sciences 1996
3. The Effects of Carbon Monoxide Exposure on Low Birth Weight in the LA Metropolitan Area, 1989-
    1993, USC, Southern California Environmental Health Sciences, 1997
4. Cancer Mortality in Radiation Workers, USC Southern California Environmental Health Sciences,
    1997.
5. Basic Principles of Reproductive Epidemiology, European School of Risk Assessment in
    Reproduction” in Florence/Italy December, 1997.
6. The Rocketdyne/AI Worker Health Study: Results and Lesson’s Learned, California Department of
    Health Services, Occupational Health Branch, 1998
7. Air Pollution and Low Birth Weight in Southern California, GSF Munich Germany, 1998.
8. Air Pollution and Adverse Birth Outcomes: Methodological Issues and First Results, Southern
    California Environmental Health Science Center, USC, 1998.
9. Gene-Environment Interaction and Parkinson’s Disease, Neurology Grand Rounds, UCLA 1998
10. Air Pollution and Adverse Birth Outcomes in Southern California, Dept. of Reproductive
    Epidemiology, University of Michigan, East Lansing, 1999.
11. Methodologic Issues in Studying of Gene-Environment Interaction, GSF Munich Germany, 1999
12. Methodologic Aspects of Studying Cancer Mortality in Radiation Workers, Dept. of Epidemiology,
    University of Michigan, East Lansing, 2000.
13. Cancer Mortality in Fernald Uranium Workers, NIOSH, Cincinnatti, 2000.
14. GIS Modeling of Pesticide Exposures in California, Dept. Environmental Epidemiology, GSF Munich
    Germany, 2000
15. Traffic-related Air Pollution and Adverse Birth Outcomes in Southern California, Dept. Environmental
    Epidemiology, GSF Munich Germany, 2000
16. Studying Parkinson’s disease in Populations; American Parkinson’s Disease Association conference
    for patients and care providers at UCLA, 2001
17. From the Epidemiology of Parkinson’s Disease to Gene-Environment Interactions, VA-PD
    conference, Woodland Hills, 2001
18. GIS Modeling of Air Pollution and Pesticide Exposures in California, USC-UCLA NIEHS Town hall
    meeting; Dec, 2001
19. GIS Modeling in the context of a Gene-Environment Interaction study of Parkinson’s disease, Dept.
    Environmental Epidemiology, GSF Munich Germany, 2001
20. The Epidemiology of Parkinson’s Disease, Conference of the Society for Research on Amyotrophic
    Lateral Sclerosis, Colorado May 2002
21. Traffic-related Air Pollution and Reproductive Health Effects: An Overview; Environmental Health
    Sciences seminar at UC Riverside, Feb. 2002
22. Reproductive Health Effects due to Carbon Monoxide Air Pollution in Southern California, NRC

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    Subcommittee on Health Effects from CO pollution meeting at UC Irvine, April 2002
23. Traffic-related Air Pollution and GIS Modeling in Southern California, USC-GIS Workshop Pasadena,
    May 2002
24. Health Effects Modeling with GIS, USC-GIS Workshop Public Forum at USC, May 2002
25. Dopamine Imbalance and Oxidative Stress in Parkinson’s Disease, VA Research Conference on PD
    and Movement Disorders, Los Angeles 2002
26. The Center for Gene Environment Interaction in Parkinson’s disease (CGEP) at UCLA: Dopamine
    Imbalance in Parkinson’s Disease, Inaugural NIEHS Conference at the Parkinson’s Institute in
    Sunnyvale CA, August 2002
27. Air pollution effects on birth outcomes: An overview. Health Effects Institute, Annual conference held
    at Georgetown University; 2003
28. Linking air pollution effects and adverse birth outcomes in the Los Angeles basin throughout the
    1990s. U.S. EPA, Chapel Hill, NC; 2003
29. Air Pollution and Adverse Birth Outcomes in the South Coast Air Basin, 1989-2000; Conference of
    the Czech NAS meeting on air pollution effects (Dr. Sram), Prague, 2003.
30. Air pollution and adverse birth outcomes, an update on recent developments. Department of
    Preventive Medicine at the University of Southern California, 2003
31. GIS modeling of environmental exposures: applications to air pollution and pesticide exposures.
    Department of Environmental Health, Harvard, 2004
32. Air pollution models of adverse birth outcomes. Department of Epidemiology at the University of North
    Carolina, 2004
33. Parkinson’s disease, metals and pesticides. Department of Toxicology, Symposium on Toxics Risks
    and Aging, Duke 2005
34. Air pollution and adverse birth outcome research in the SoCAB from 1995-2005. California Air
    Resources Board, Sacramento, Sept 2005
35. Parkinson’s disease and pesticide exposure assessment in farming communities in the California
    Central Valley. Symposium of the Ramazzini Conference, Bologna, Italy Sept. 2005
36. Parkinson’s disease and aging. UCLA Center on Aging Research Conference on Aging 2006.
37. Air Pollution and Asthma in Children. AQMD Asthma Impacts of Air Pollution Conference Los
    Angeles, Feb. 2006
38. Parkinson’s disease and pesticides in the Central California Valley. NIEHS center at Columbia
    University, NY 2007
39. Assessing pesticides exposures for prostate cancers in the Central California Valley. IARC, Lyon
    2007
40. Air pollution and adverse birth outcomes in LA. INSERM, Paris 2007
41. Gene Environment Interactions in Parkinson’s disease. CREAL Institute, Barcelona 2008
42. Latest results on Gene Environment Interactions in Parkinson’s disease. INSERM, Paris 2008
43. Re-assessing Gene Environment Interactions in Parkinson’s disease. MDS conference symposium,
    Chicago 2008
44. Methodological Issues in studying risk factor for Parkinson’s disease in populations. MDS conference
    symposium, Chicago 2008.
45. Environmental and occupational health studies in California. University of Dublin 2008
46. Air pollution, pregnancy and child health; Healthy Development and Ageing Workshop; British Foreign
    & Commonwealth Office, LA 2009
47. Air pollution, pregnancy and child health; Physician’s for Social Responsibility Environmental training
    2009
48. Air pollution and adverse pregnancy outcomes in LA; Annenberg School of Journalism 2009
49. Parkinson’s disease and pesticides. George Washington University Environmental Health Program
    2009
50. LUR model for traffic related exposures and adverse birth outcomes in LA. Helmholtz Center Munich
    2010
51. Parkinson’s disease and gene–pesticide interactions. Symposium on Predictive Health, Human
    Health: Molecules to Mankind. Emory University Atlanta Dec 2010
52. Air Pollution and Adverse Birth Outcomes, invited speaker at HEI annual conference Boston 2011
53. Parkinson’s disease in Denmark; the PASIDA study; University of Odense Denmark, May 2011
54. Gene-environment interactions in Parkinson’s disease, invited symposium speaker at the
    International Society for Environmental Epidemiology (ISEE), Barcelona 2011
55. Air Pollution and the Brain; invited plenary speaker at the annual conference of the International
    Society for Environmental Epidemiology (ISEE), South Carolina 2012

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56. Air Pollution and Autism; invited speaker at the University of Aarhus, Denmark 2012
57. Air Pollution, Children and Women’s Health in LA; invited speaker at the SCAMQD conference for
    stakeholders, LA 2013
58. How to be an Epidemiologist, invited speaker at SER, Boston 2013
59. Pesticides and Neurodegeneration; invited speaker at the Conference on safety of fumigated
    container shipping in Berlin, Germany 2014
60. History of Environmental and Occupational Epidemiology, invited speaker at SER, Seattle 2014
61. History of Air Pollution, Adverse Birth Outcomes and Children’s Health in California; Invited Plenary
    Speaker for the ISEE Young Researcher Conference, Barcelona 2014
62. Environmental Causes of Adverse Neurodevelopment; Invited Speaker at the B-Debate Barcelona
    (Environment and Child Brain Development: the Challenges in the Global Context) Conference,
    Barcelona 2014
63. Autism Epidemiology; invited speaker at the annual CART meeting UCLA 2014
64. Epidemiology of Parkinson’s disease, invited speaker at annual GEO-PD meeting Vancouver CA,
    2014
65. Parkinson’s Disease Epidemiology: a Gene-Environment Perspective, invited speaker at the
    Neurogenetics Institute of Luebeck/Germany, 2015


PUBLICATIONS

PEER REVEIWED JOURNAL ARTICLES (*indicates mentored students/fellows)
1. Ritz B. Humeral Epicondylitis Among Gas- And Waterworks Employees. Scandinavian Journal of
    Work, Environment and Health, 1995 Dec, 21(6): 478-86.
2. Ritz B, Heinrich J, Wjst M, Wichmann E, Krause C. Effect Of Cadmium Body Burden On Immune
    Response Of School Children. Archives of Environmental Health 1998,Jul-Aug; Vol 53: 272-280
3. Ritz B, Morgenstern H, Froines J, Young B. Effects Of Exposure To External Ionizing Radiation On
    Cancer Mortality In Nuclear Workers Monitored For Radiation At Rocketdyne/Atomics International.
    AJIM 1999, Jan; Vol 35: 21-31.
4. Ritz B, Yu F. The Effect Of Ambient Carbon Monoxide On Low Birth Weight Among Children Born In
    Southern California Between 1989 and 1993. Environmental Health Perspectives 1999 Jan,
    107(1):17-25. PMCID: PMC1566307
5. Heinrich J, Hoelscher B, Wjst M, Ritz B, Cyrys J, Wichmann HE. Respiratory Diseases And Allergies
    In Two Polluted Areas In East Germany. Environmental Health Perspectives 1999,Jan; 107(1):53-62.
    PMCID: PMC1566314
6. Ritz B, Morgenstern H, Moncau J. Age At Exposure Modifies The Effects Of Low-Level Ionizing
    Radiation On Cancer Mortality In An Occupational Cohort. Epidemiology 1999, Mar; 10(2):135-140.
7. Ritz B. Radiation Exposure and Cancer Mortality In Uranium Processing Workers. Epidemiology,
    1999, Sep; 10:531-538
8. Ritz B. Cancer Mortality Among Workers Exposed To Chemicals During Uranium Processing. JOEM
    1999, Jul;41(7):556-566.
9. Ritz B, Morgenstern H, Froines J., Moncau J. Chemical Exposures Of Rocket Engine Test Stands
    Personnel And Cancer Mortality In A Cohort Of Aerospace Workers. JOEM, 1999 Oct; 41(10): 903-
    910.
10. Jacob B, Ritz B, Heinrich J, Hoelscher B, Wichmann HE. The Effect Of Low-Level Blood Lead On
    hematologic parameters In Children. Environmental Research, 2000 Feb, 82 (2): 150-159.
11. Ritz B, Yu F. Parkinson’s Disease Mortality And Pesticide Exposure In California 1984-1994.
    International Journal of Epidemiology, 2000 Apr, Vol. 29:323-329.
12. Hoelscher B, Heinrich J, Jacob B, Ritz B, Wichmann HE. Gas Cooking, Respiratory Health And
    White Blood Cell Counts In Children. Int. J. Hygiene and Environ Health, 2000 Mar; 203 (1): 29-37.
13. Ritz B, Morgenstern H, Crawford-Brown D,Young B.The Effects Of Internal Radiation Exposure On
    Cancer Mortality In Nuclear Workers At Rocketdyne/Atomics International. Environ Health Perspect,
    2000 Aug; 108(8):743-751. PMCID: PMC1638302
14. Ritz B, Yu F, Chapa G, Fruin S. Effect Of Air Pollution On Preterm Birth Among Children Born In
    Southern California Between 1989 And 1993. Epidemiology, 2000 Sep; 11(5):502-511.
15. Morgenstern H, Ritz B. Effects of Radiation And Chemical Exposures On Cancer Mortality Among
    Rocketdyne Workers: A Review of Three Cohort Studies. Occup. Med. 2001 Apr-Jun;16(2): 219-237.
16. Ritz B, Yu F, Chapa G, Fruin S, Shaw G, Harris J. Ambient Air Pollution And Risk of Birth Defects in
    Southern California. Am J Epidemiol 2002 Jan 1;155:17–25.

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17. Ritz B, Hoelscher B, Frye C, Meyer I, Heinrich J. Allergic sensitization owing to 'second-hand' cat
    exposure in schools. Allergy 2002 Apr;57(4):357-61
18. Jacob B, Ritz B, Gehring U, Koch A, Bischof W ,Wichmann HE, Heinrich J for the INGA-Study group.
    Indoor Exposure To Molds And Allergic Sensitization. Environ Health Perspect. 2002 Jul;110(7):647-
    53. PMCID: PMC1240910
19. Clary T, Ritz B. Pancreatic Cancer Mortality And Organochlorine Pesticide Exposure In California,
    1989-1996. Am J Ind Med. 2003 Mar;43(3):306-13.
20. Wilhelm M, Ritz B. Residential Proximity To Traffic And Adverse Birth Outcomes In Los Angeles
    County, California, 1994-1996. Environ Health Perspect. 2003 Feb; 111(2):207-16. PMCID:
    PMC1241352
21. Rull R, Ritz B. Historical Pesticide Exposure In California Using Pesticide Use Reports And Land-Use
    Surveys: An Assessment Of Misclassification Error And Bias. Environ Health Perspect. 2003 Oct;
    111(13):1582-9. PMCID: PMC1241678.
22. Hashibe M, Ritz B, Le AD, Li G, Sankaranarayanan R, Zhang ZF. Radiotherapy For Oral Cancer As
    A Risk Factor For Second Primary Cancers. Cancer Letters 2005 Apr 8; 220(2):185–195.
23. Ritz,B, Tager I, Balmes J. Can Lessons From Public Health Disease Surveillance Be Applied To
    Environmental Public Health Tracking? Environ Health Perspect. 2005 Mar; 113(3):243-9. PMCID:
    PMC1253746
24. Kang G, Bronstein JM, Masterman DL, Redelings M, Crum JA, Ritz B. Clinical Characteristics In
    Early Parkinson’s Disease In A Central Californian Population-Based Study. Mov Disord. 2005 Sep;
    20(9):1133-42. PMCID: PMC3643967
25. Ponce NA, Hoggatt KJ, Wilhelm M, Ritz B. Preterm Birth: The Interaction Of Traffic-Related Air
    Pollution With Economic Hardship In Los Angeles Neighborhoods. Am J Epidemiol. 2005 Jul
    15;162(2):140-8.
    PMCID: PMC3636775
26. Wilhelm M, Ritz, B. Local Variations In CO And Particulate Air Pollution And Adverse Birth Outcomes
    In Los Angeles County, California, USA. Environ Health Perspect; 2005 Sep;113(9):1212-21. PMCID:
    PMC1280404
27. Rull RP, Ritz B, Shaw GM. Validation Of Self-Reported Proximity To Agricultural Crops In A Case-
    Control Study Of Neural Tube Defects. Journal of Exposure Analysis and Environmental
    Epidemiology; J Expo Sci Environ Epidemiol. 2006 Mar;16(2):147-55.
28. Zhao Y, Krishnadasan A, Kennedy N, Morgenstern H. Ritz B. Estimated effects of solvents and
    mineral oils on cancer incidence and mortality in a cohort of aerospace workers. Am J Ind Med. 2005
    Oct;48(4):249-58.
29. Lewis C, Suffet I, Ritz B. Estimated Effects Of Disinfection By-Products On Birth Weight In A
    Population Served By A Single Water Utility. Am J Epidemiol. 2006 Jan 1;163(1):38-47.
30. Karr C, Lumley T, Shepherd K, Davis R, Larson T, Ritz B, Kaufman J. A Case Crossover Study Of
    Wintertime Ambient Air Pollution And Infant Bronchiolitis. Environ Health Perspect. 2006
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31. Ritz B, Zhao Y, Krishnadasan A, Kennedy N, Morgenstern H. Estimated Effects of Hydrazine
    Exposure on Cancer Incidence and Mortality in Aerospace Workers. Epidemiology. 2006
    Mar;17(2):154-61.
32. Rull RP, Ritz B, Shaw GM. Neural Tube Defects And Maternal Residential Proximity To Agricultural
    Pesticide Applications. Am J Epidemiol. 2006 Apr 15;163(8):743-53.
33. Glatt CE, Wahner AD, White DJ, Ruiz-Linares A, Ritz B. Gain Of Function Haplotypes In The
    Vesicular Monoamine Transporter Promoter Are Protective For Parkinson Disease In Women. Hum
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34. Marusek JC, Cockburn MG, Mills PK, Ritz B. Control Selection And Pesticide Exposure Assessment
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35. Ritz B, Wilhelm M, Zhao Y. Air pollution and infant death in southern California, 1989-2000.
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36. Schernhammer E, Chen H, Ritz B. Circulating Melatonin Levels: Possible Link Between Parkinson’s
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    Chronic Exposure to Ambient Air Pollutants on Infant Bronchiolitis. Am J Epidemiol. 2007 Mar
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38. Ritz B, Ascherio A, Checkoway H, Marder KS, Nelson LM, Rocca WA, Ross GW, Strickland D, Van
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39. Ritz B, Costello S. Geographic model and biomarker-derived measures of pesticide exposure and
    Parkinson's disease. Ann N Y Acad Sci. 2006 Sept;1076:378-87. PMCID: PMC3656600
40. Elbaz A, Nelson LM, Payami H, Ioannidis JPA, Fiske BK, Annesi G, Belin AC, Factor SA, Ferrarese
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    JG, Ritz B, Samii A, Tanner CM, Van Broeckhoven C, Van Den Eeden SK, Wirdefeldt K, Zabetian
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    Thirteen Single-Nucleotide Polymorphisms Implicated In Parkinson's Disease: A Large-Scale
    International Study. Lancet Neurol. 2006 Nov; 5(11):917-23. PMCID: PMC3636768
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    Evaluating the Effects of New Task Chairs on Shoulder and Neck Pain among Sewing Machine
    Operators: The Los Angeles Garment Study. 2007 Apr 20. Spine; 32(9): 931–938
42. Wahner AD, Sinsheimer JS, Bronstein JF, Ritz B. Inflammatory Cytokine Gene Polymorphisms And
    Increased Risk of Parkinson disease. Arch Neurol. 2007 Jun;64(6):836-40.
43. Wahner AD, Glatt CE, Bronstein JM, Ritz B. Glutathione S-Transferase Mu, Omega, Pi, And Theta
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44. Lewis C, Suffet HI, Hoggatt KJ, Ritz B. Estimated Effects of Disinfection By-products On Preterm
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    Occupational Chemical Exposures and Prostate Cancer in Aerospace and Radiation Workers. Am J
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46. Meng YY, Wilhelm M, Rull R, English P, Ritz B. Traffic And Outdoor Air Pollution Levels Near
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    Environment And Pregnancy Outcomes Study at the University of California, Los Angeles. Am J
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54. Wilhelm M, Qian L, Ritz B. Outdoor air pollution, family and neighborhood environment, and asthma
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55. Heck JE, Ritz B, Hung R, Hashibe M, Boffetta P. The Epidemiology of Neuroblastoma: A Review.
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    Signs For Musculoskeletal Disorders In The Upper Body Region Among Los Angeles Garment
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      Usage in Northern California Homes with Young Children. J Expo Sci Environ Epidemiol. 2011 Jul-
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      to Parkinson’s Disease. Parkinsonism Relat Disord. 2010 Nov;16(9):576-81. PMCID: PMC2963655
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Studies excluded from the present review and the reasons for exclusion

 Brown et al, “Pesticide exposures and          Only provided results for multiple myeloma.
 multiple myeloma in Iowa men.”1

 Fritschi et al, “Occupational exposure to      This paper did not report an effect estimate
 pesticides and risk of non-Hodgkin's           specific to glyphosate
 lymphoma.” 2

 Flower et al, “Cancer risk and parental        Study took place in children; no specific
 pesticide application in children of           glyphosate- lymphoma associations were
 Agricultural health study participants.”3      reported.
 Hoar et al, “Agricultural herbicide use and    Results specific to glyphosate were not
 risk of lymphoma and self-tissue sarcoma.”4    reported.
 Kachuri et al, “Multiple pesticide exposures   Results only reported for multiple myeloma.
 and the risk of multiple myeloma in Canadian
 men.”5
 Landgren et al, “Pesticide exposure and risk   Monoclonal gammopathy of undetermined
 of monoclonal gammopathy of undetermined       Significance (MGUS) is a precursor condition
 significance in the Agricultural Health        to multiple myeloma.
 Study.”6
 Sorahan, “Multiple Myeloma and Glyphosate      Only provided results for multiple myeloma.
 Use: A Re-Analysis of US Agricultural Health
 Study (AHS) Data.”7
 Waddell et al, “Agricultural use of            This study did not report on glyphosate.
 organophosphate pesticides and the risk of
 non-Hodgkin's lymphoma among male
 farmers (United States).”8
 Zhang et al, 2016, “Health effect of           This article examined blood chemistry
 agricultural pesticide use in China:           measures in relation to glyphosate, (markers
 implications for the development of GM         for renal and hepatic function such as
 crops.”9                                       electrolytes, B vitamins, serum glucose, C-
                                                reactive protein, and peripheral nerve
                                                conduction). Not directly relevant for NHL
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Compensation

My rates for expert work are $550.00/hour and $5,000.00/day for deposition and trial testimony.

Prior Testimony

I have not given a deposition or trial testimony in the last four years.
